         Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24     Page 1 of 126




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                               )
IN RE: PHILIPS RECALLED CPAP,                  )
BI-LEVEL PAP, AND MECHANICAL                   )
VENTILATOR PRODUCTS                            )      Master Docket: Misc. No. 21-1230
LITIGATION                                     )
                                               )
                                               )      MDL No. 3014
This Document Relates to: All Actions          )
Asserting Claims for Medical Monitoring        )
                                               )
                                               )
                                               )


                                             OPINION
    I.     Introduction

           Pending before the multidistrict litigation court (“MDL Court”) 1 is an Unopposed Motion

of Settlement Class Representatives for Final Approval of Class Settlement and Release of Medical

Monitoring Claims, Final Judgment, Injunction and Order of Dismissal, as revised (ECF No.

3022), with an amended brief and exhibits in support (ECF Nos. 3005-3015), and a motion for

attorneys’ fees and costs, as well as service awards (ECF No. 2949) with a brief in support. (ECF

Nos. 2950, 2951). It is important to note that no individual claims for medical monitoring are being

released. In other words, each Settlement Class Member retains the right, if available under

applicable state law, to file “claims for medical monitoring against the relevant defendant for

payment of that individual’s medical monitoring expenses related to the individual’s use of a

Recalled Device, whether incurred in the past or the future, and regardless of how those claims



1
 All capitalized terms used in this opinion, unless otherwise defined, shall have the same
meaning ascribed to them in the Settlement Agreement at ECF No. 2862-1.
          Case 2:21-mc-01230-JFC       Document 3055        Filed 12/05/24      Page 2 of 126




may be characterized (e.g., equitable, legal, etc.)” (the “individual medical monitoring claims”).

(Settlement Agreement, ECF No. 2862-1 at ¶1.21). No Settlement Class Member is giving up or

releasing any individual claim for personal injury, i.e., to sue for physical injury or pain and

suffering, under applicable state law. The class action economic loss claims were separately

settled. The relevant members of the economic class are bound by that settlement, unless the

Settlement Class Member opted-out of the settlement and those economic loss claims are not

affected or released by this Settlement. (Class Settlement Order, ECF No. 2736).



    II.     Procedural Background

            Plaintiffs filed the Medical Monitoring Master Complaint (the “Complaint”) (ECF No.

815) on October 17, 2022, seeking, among other things, medical monitoring for a nation-wide

class under Pennsylvania law as an independent cause of action 2 distinct from the products liability

economic loss claims, and other personal injury and traditional tort claims. The Philips

Defendants 3 moved to dismiss the Complaint for lack of jurisdiction (ECF No. 1353), failure to

state a claim (ECF Nos. 1351, 1359), and the nonviability of medical monitoring as an independent

claim in numerous jurisdictions. (ECF No. 1352). The Philips Defendants attacked the “threshold”

elements of medical monitoring and the necessity for a plaintiff to demonstrate a present physical

injury in the majority of jurisdictions. They argued the motions before the court-appointed Special




2
  Many jurisdictions recognize medical monitoring only as a form of relief, but not as an
independent claim. See, e.g., Banks v. E.I. du Pont de Nemours & Co., No. CV 19-1672-MN-
JLH, 2022 WL 3139087 at *9 (D. Del. Aug. 4, 2022), report and recommendation adopted, No.
CV 19-1672 (MN)(JLH), 2022 WL 3577111 (D. Del. Aug. 19, 2022). (ECF No. 2273).
3
  The Philips Defendants are Philips RS North America LLC (“Philips RS”), Koninklijke Philips
N.V. (“KPNV”), Philips North America LLC, Philips Holding USA Inc., and Philips RS North
America Holding Corporation.

                                                 2
       Case 2:21-mc-01230-JFC         Document 3055         Filed 12/05/24     Page 3 of 126




Master, 4 on July 11, 2023. The MDL Court attended the argument. (ECF No. 2080). There was

no dispute regarding 20 jurisdictions: 10 where no plaintiffs resided and 10 where medical

monitoring claims are allowed. (ECF No. 3015-1 at 6).

         On September 28, 2023, the Special Master issued his Report and Recommendation (R&R)

recommending dismissal of Plaintiffs’ claims for medical monitoring in 30 of 32 disputed

jurisdictions. (ECF No. 2273). The Parties filed objections to the R&R. (Plaintiffs ECF Nos. 2314,

2316 and Defendants ECF Nos. 2368, 2371). This MDL Court issued an opinion (ECF No. 2521)

and order (ECF No. 2522) on February 14, 2024, remanding “the matter back to the Special Master

for additional proceedings, including a jurisdiction-by-jurisdiction roadmap as to the viability of

Plaintiffs’ medical monitoring claims.” (ECF No. 3015-1 at 6).

         After the Parties conducted an investigation, fact gathering, and extensive discovery, they

engaged in arm’s-length, good faith negotiations, overseen by the MDL Court-appointed

Settlement Mediator, 5 who also oversaw the negotiations between these Parties in the Economic

Loss Claims and Personal Injury Claims settlements. The Parties reached a settlement with respect

to the non-individual medical monitoring claims and on May 9, 2024, the Settlement Class Counsel

for Plaintiffs filed an unopposed motion for Preliminary Approval of the Settlement and Release

of Medical Monitoring Claims (ECF No. 2766), with briefs in support. (ECF Nos. 2767, 2783).

         The MDL Court held a preliminary approval hearing on June 18, 2024 (ECF No. 2850), in

which the MDL Court raised questions about the proposed settlement agreement and the proposed

notice plan (Transcript, ECF No. 2853 at 11-18). The MDL Court instructed the Parties to meet

and confer to address the MDL Court’s concerns and questions and continued the hearing to June




4
    Hon. Thomas I. Vanaskie (Ret.).
5
    Hon. Diane M. Welsh (Ret.).

                                                  3
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 4 of 126




27, 2024 (ECF No. 2863). The Parties made numerous revisions in response to the MDL Court’s

questions and submitted an amended revised settlement agreement dated June 27, 2024 (the

“Settlement Agreement”). (Amended Revised Settlement Agreement, ECF No. 2862).

       On June 27, 2024, the MDL Court conducted the continuation of the preliminary

assessment of the fairness, reasonableness, and adequacy of the Settlement pursuant to Rule

23(e)(1)(B) of the Federal Rules of Civil Procedure. The MDL Court reviewed the amended

submissions regarding the proposed settlement (ECF Nos. 2858, 2862) and Settlement Class

Counsel answered the court’s questions regarding the monitoring research benefit, administrative

costs, attorneys’ fees, substitution of Parties, notice to Settlement Class Members, and opportunity

for members to submit objections. (Transcript, ECF No. 2865 at 3-12).

        The court found that the Settlement, after amendments to address the court’s initial

inquiries, fell “within the range of reasonableness meriting likely final approval and had key

indicia of fairness, including that (1) the Parties reached the Settlement after investigating the

strengths and weaknesses of the Medical Monitoring Claims and the defenses thereto, including at

the pleading, class certification, expert, and other stages of this litigation, (2) the extensive

settlement negotiations were arm’s-length and consisted of multiple mediation sessions overseen

by the Settlement Mediator, (3) there is no evidence of collusion in having reached this Settlement,

(4) the proponents of the Settlement are experienced in similar litigation, and (5) the Settlement

provides valuable tangible and intangible benefits for Settlement Class Members through the

Medical Advancement Program Benefits.” (Preliminary Approval Order, ECF No. 2864 at ¶1).

The court preliminarily approved the Settlement on the terms set forth in the Settlement

Agreement, issued an Order Preliminarily Approving the Proposed Class Settlement Agreement




                                                 4
    Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 5 of 126




and Release of Medical Monitoring Claims, Id. and scheduled a final fairness hearing for October

30, 2024.

       The court appointed BrownGreer PLC (“BrownGreer”) as the Notice Administrator. Id. at

¶5. Pursuant to Rules 23(c)(2)(A) and 23(e)(1)(B), the court ordered that notice (the “Settlement

Notice”) be provided to the Settlement Class Members pursuant to the terms of the Settlement

Agreement. Id. at ¶3. The Settlement Notice apprised the Settlement Class that Settlement Class

Counsel intended to petition the court for an award of attorneys’ fees, costs and expenses, and

service awards, totaling in the aggregate an amount of up to 20% of the $25 million Settlement

Fund, to be paid from the Settlement Fund, and the right of Settlement Class Members to submit

objections concerning that petition, as well as the Settlement. (ECF No. 3003).

       The court also appointed BrownGreer as the Qualified Settlement Fund (“QSF”)

Administrator. (Preliminary Approval Order, ECF No. 2864 at ¶6). It is “responsible for the duties

set forth in the Settlement Agreement assigned to the QSF Administrator, including but not limited

to establishing and maintaining the QSF for the benefit of the Settlement Class pursuant to Section

1.468B-1, et seq. of the Treasury Regulations promulgated under Section 468B of the Internal

Revenue Code of 1986, as amended.” Id.

       The court appointed Wolf Global Compliance as the Settlement Administrator. Id. at ¶7. It

is “responsible for the duties set forth in the Settlement Agreement assigned to the Settlement

Administrator, including, but not limited to: (a) establishing and maintaining a Settlement Website

for Settlement Class Members to access Relevant Medical Information and Guidance in a user-

friendly format for individuals who do not have a medical or scientific background, (b)

determining, in consultation with the Parties and appropriate experts, appropriate recipient(s) of

grant(s), subject to Court approval, to fund independent medical research related to the




                                                5
    Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 6 of 126




advancement of public knowledge regarding the detection, diagnosis, and/or treatment of those

injuries alleged to have been caused by use of the Recalled Devices, (c) publishing the results of

the research, to the extent medically relevant and valid conclusions are reached, on the Settlement

Website, and (d) establishing, in consultation with the Parties, a MAP Registry to which Settlement

Class Members can elect to submit authorizations for the release and disclosure of medical

information protected by HIPAA, 45 CFR § 164.508, for purposes of review and evaluation in

connection with the MAP Research.” Id.

       The court approved Huntington National Bank as the Custodian Bank pursuant to the

Settlement Agreement. Id. Pursuant to the Settlement Agreement (ECF No. 2862-1 at ¶2.4.1), it

is this court’s understanding that the Philips Defendants deposited the First Payment in the amount

of $1,900,000, for notice-related costs and other administrative expenses, into the Settlement Fund

within 14 days of the Preliminary Approval. (Preliminary Approval Order, ECF No. 2864 at ¶9).

       On August 26, 2024, Settlement Class Counsel filed a motion for attorneys’ fees and costs,

as well as service awards (ECF No. 2949), with a brief in support, and sealed exhibits. (ECF Nos.

2950, 2951). On October 9, 2024, Settlement Class Counsel filed the objections to the Settlement,

which had been submitted to the Settlement Administrator (ECF Nos. 3005-3010) and filed an

unopposed motion for Final Approval of Class Settlement Agreement and Release of Medical

Monitoring Claims, Final Judgment, Injunction and Order of Dismissal (ECF No. 3011, updated

ECF No. 3022), with a brief in support and charts grouping the objections by topic (ECF No.

3012). On October 17, 2024, Settlement Class Counsel filed additional objections to the

Settlement, which had been submitted to the Settlement Administrator (ECF Nos. 3013, 3014),

with an amended brief in support of Final Approval of Medical Monitoring Settlement Agreement

and amended charts (ECF No. 3015). The court directed Settlement Class Counsel to provide all




                                                6
       Case 2:21-mc-01230-JFC         Document 3055         Filed 12/05/24      Page 7 of 126




objectors with a copy of the relevant responses and charts. The final fairness hearing proceeded as

scheduled on October 30, 2024.



III.     Terms of the Class Action Settlement

         The Settlement will create a $25 million non-revisionary fund for a Medical Advancement

Program (“MAP”) that will offer equitable benefits to the Settlement Class in the form of

independent “medical research related to the advancement of public knowledge regarding the

detection, diagnosis and/or treatment of those injuries alleged to have been caused by use of the

Recalled Devices.” (Settlement Agreement at ¶3.1.1). Settlement Class Members may, but are not

required to, provide their medical information on a voluntary basis for inclusion in the research

study and may have the data discovered by the research forwarded directly to their doctors.

         The MAP Benefits will be provided for fifteen years, starting with the Effective Date, and

will be implemented by the Settlement Administrator, in consultation with the Parties, and with

oversight by the MDL Court. Id. at ¶1.17. The results of the research “to the extent medically

relevant and valid conclusions are reached, will be published on the Settlement Website in a user-

friendly format and thus disseminated to Settlement Class Members.” Id. at ¶3.1.2-3.1.3.

         Reasonable costs of Settlement Notice and Settlement administration agreed to by the

Parties or required by this court, including the fees and costs of the Notice Administrator, the QSF

Administrator, the Settlement Administrator, and the Custodian Bank, will be paid solely from the

Settlement Fund. All attorneys’ fees and costs, as well as service awards to Class Representatives

and named plaintiffs that supported the litigation efforts, will similarly be paid from the Settlement

Fund. It is estimated the funds available after payment of the administrative expenses, attorneys’

fees and costs, and service awards will be approximately $16.3 million “purely for the MAP




                                                  7
      Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24       Page 8 of 126




benefits for the class” and will be deposited in an interest-bearing account. (Transcript of

Preliminary Approval Hearing, ECF No. 2865 at 7). Settlement Class Members will not be

individually responsible for any fees or expenses.

        This Medical Monitoring Class Settlement has no impact, subject to the laws of the

applicable jurisdiction, on a) individual medical monitoring claims; b) claims settled pursuant to

the economic loss settlement; c) if the Settlement Class Member opted-out of the class action

economic loss settlement, claims for economic losses related to the Recalled Devices themselves;

or d) claims for personal injury.



IV.     Standards for Class Certification

        Before a class action can be settled, the settlement must first be approved by the court, but

only after the court holds a hearing and finds that the settlement is “fair, reasonable, and adequate.”

Fed. R. Civ. P. 23(e)(2). As part of this undertaking, the court must: “(1) determine if the

requirements for class certification under Rule 23(a) and (b) are satisfied; (2) assess whether notice

to the proposed class was adequate; and (3) evaluate if the proposed settlement is fair under Rule

23(e).” Sorace v. Wells Fargo Bank, N.A., No. CV 20-4318, 2024 WL 643229, at *2 (E.D. Pa.

Feb. 15, 2024) (citing In re NFL Players Concussion Inj. Litig., 775 F.3d 570, 581 (3d Cir. 2014)).

        For a class to be certified, it must meet all four prerequisites prescribed by Rule 23(a):

        1) the class is so numerous that joinder of all members is impracticable;
        2) there are questions of law of fact common to the class;
        3) the claims or defenses of the representative parties are typical of the claims or
           defenses of the class; and
        4) the representative parties will fairly and adequately protect the interests of the class;

Fed. R. Civ. P. 23(a).




                                                   8
      Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 9 of 126




It must also meet one of the three requirements of Rule 23(b) of the Federal Rules of Civil

Procedure:

        1) prosecuting a separate action by or against individual Settlement Class Members would
           create a risk of:
           a. inconsistent and varying adjudications with respect to individual Settlement Class
               Members that would establish incompatible standards of conduct by the party
               opposing the class; or
           b. adjudications with respect to individual Settlement Class Members that, as a
               practical matter, would be dispositive of the interests of the other members not
               parties to the individual adjudications or would substantially impair or impede their
               ability to protect their interests;
        2) the party opposing the class has acted or refused to act on grounds that generally apply
           to the class, so that final injunctive relief or corresponding declaratory relief is
           appropriate respecting the class as a whole; or
        3) The court finds that the questions of law or fact common to Settlement Class Members
           predominate over any questions affecting only individual members, and that a class
           action is superior to other available methods for fairly and efficiently adjudicating the
           controversy. The matters pertinent to these findings include:
           a. The Settlement Class Members’ interests in individually controlling the
               prosecution or defense of separate actions;
           b. He extent and nature of any litigation concerning the controversy already begun by
               or against Settlement Class Members;
           c. The desirability or undesirability of concentrating the litigation of the claims in the
               particular forum; and
           d. The difficulties in managing a class action.

Fed. R. Civ. P. 23(b).

Rule 23(b)(2) is implicated in this Settlement.

 V.     Discussion

             A. Class Definition: the class certified for settlement purposes is defined as follows:

                   Settlement Class or Settlement Class Members shall include all
                   individuals in the United States, including its Territories (American Samoa,
                   Guam, the Northern Mariana Islands, Puerto Rico, and the U.S. Virgin
                   Islands), and the District of Columbia, including United States citizens,
                   United States residents, and United States military, diplomatic personnel and
                   employees living or stationed overseas, who have used a Recalled Device.

                   EXCLUDED from the Settlement Class are: (a) Defendants and their
                   officers, directors, and employees; and (b) the MDL Court, Settlement
                   Mediator, and Special Masters assigned to the MDL.


                                                  9
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 10 of 126




(Preliminary Approval Order, ECF No. 2864 at ¶14).

           B. Rule 23(a) elements: all four of the following must be present:

               1. Numerosity: Rule 23(a)(1)

       While there is no minimum requirement, courts generally find the numerosity requirement

is satisfied when the class exceeds forty members. Stewart v. Abraham, 275 F.3d 220, 227 (3d Cir.

2001). Here, with over ten million Recalled Devices and millions of putative Settlement Class

Members, the numerosity requirement is easily met.

               2. Commonality: Rule 23(a)(2)

       The Third Circuit Court of Appeals has explained that “the focus of the commonality

inquiry is not on the strength of each plaintiff's claim, but instead ‘is on whether the defendant's

conduct was common as to all of the Settlement Class Members.’” Rodriguez v. Nat'l City Bank,

726 F.3d 372, 382 (3d Cir. 2013) (quoting Sullivan v. DB Invs., Inc., 667 F.3d 273, 299 (3d Cir.

2011)). The resulting test is not a demanding one; a single question of law or fact is enough to

meet the commonality threshold. Id. Here, there are many common questions of law and fact, but

the one that looms largest over all putative Settlement Class Members is whether the devices in

question were defective. Thus, the commonality threshold is also easily met.

               3. Typicality: Rule 23(a)(3)

       The typicality test is meant for the court to determine “whether the action can be efficiently

maintained as a class and whether the [n]amed [p]laintiffs have incentives that align with those of

absent Settlement Class Members so as to assure that the absentee's interests will be fairly

represented.” Baby Neal v. Casey, 43 F.3d 48, 57 (3d Cir. 1994). Put differently, the MDL Court

must determine whether the named plaintiffs have unique circumstances separating them from the

putative class or whether there are any differing legal theories being asserted by the named



                                                10
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 11 of 126




plaintiffs. Id. at 57–58. Here, the Class Representatives, Elizabeth Lemus and Marilynn Sweeney,

“used the Recalled Devices and suffered the same type of harm as the putative Settlement Class,

including the risk of exposure to the alleged foam toxins; and potential increased risk of developing

illness, disease, or disease processes that have not yet become manifest.” (ECF No. 3015). This

requirement is met.

               4. Adequacy: Rule 23(a)(4)

       Adequacy tests whether “the representative parties will fairly and adequately protect the

interests of the class.” Fed. R. Civ. P. 23(a)(4). The interests of the Class Representatives and

named plaintiffs align with the interests of the putative Settlement Class Members, and Class

Counsel are qualified and have significant experience from representing plaintiffs in other complex

class actions. The MDL Court is satisfied that the interests of the Settlement Class have been

adequately protected by the Class Representatives and the Settlement Class Counsel. The Class

Representatives worked closely with Settlement Class Counsel throughout the litigation. (ECF No.

3015). The MDL Court appointed the following as Settlement Class Counsel:

       a. Christopher A. Seeger, Seeger Weiss,
           55 Challenger Road, 6th Floor, Ridgefield Park, NJ 07660;
       b. Sandra L. Duggan, Levin Sedran & Berman,
           510 Walnut Street, Suite 500, Philadelphia, PA 19106;
       c. Steven A. Schwartz, Chimicles Schwartz Kriner & Donaldson-Smith LLP,
           361 West Lancaster Avenue, Haverford, PA 19041;
       d. Kelly K. Iverson, Lynch Carpenter, LLP,
           1133 Penn Avenue, 5th Floor, Pittsburgh, PA 15222; and
       e. Roberta D. Liebenberg, Fine, Kaplan and Black, R.P.C.,
           One South Broad Street, 23rd Floor, Philadelphia, PA 19107.

           C. Rule 23(b): must fall within one of the three kinds of classes:




                                                 11
    Case 2:21-mc-01230-JFC            Document 3055          Filed 12/05/24      Page 12 of 126




        Along with the Rule 23(a) factors, the class must fall within one of the three kinds of classes

contemplated by Rule 23(b). The Settlement Class defined in the Settlement Agreement falls

within Rule 23(b)(2), which requires that “final injunctive relief or corresponding declaratory

relief is appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2).

        Rule 23(b)(2) applies only when a single injunction or declaratory judgment would provide

relief to each member of the class. It does not authorize class certification when each individual

Settlement Class Member would be entitled to a different injunction or declaratory judgment

against a defendant. Murphy v. Le Sportsac, Inc., No. 1:22-CV-00058-RAL, 2023 WL 375903, at

*4 (W.D. Pa. Jan. 24, 2023). Similarly, it does not authorize class certification when each

Settlement Class Member would be entitled to an individualized award of monetary damages under

this action. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360-61 (2011).

        For medical monitoring specifically, courts must “‛closely scrutinize[]’” the relief program

being offered to ensure it satisfies Rule 23(b)(2) as injunctive relief and is not “‛a disguised request

for compensatory damages.’” 1 MCLAUGHLIN ON CLASS ACTIONS § 5:19 (21st ed. 2024) (quoting

Arch v. Am. Tobacco Co., Inc., 175 F.R.D 469, 483 (E.D. Pa. 1997)). When the requested relief is

“limited to a court-established medical monitoring program solely for the purposes of diagnosing

disease and sharing information with Settlement Class Members,” courts have found this kind of

program to be “truly equitable.” Id; see In re Diet Drugs, 582 F.3d 524, 541 (3d Cir. 2009). Under

the Medical Monitoring Class Settlement, individual Settlement Class Members retain the right

to pursue, subject to the laws of the applicable jurisdiction, a) individual medical monitoring

claims; b) claims settled pursuant to the economic loss settlement; c) if the Settlement Class

Member opted-out of the class action economic loss settlement, claims for economic losses related

to the Recalled Devices themselves; and d) claims for personal injury.




                                                  12
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 13 of 126




       There are grounds generally applicable to the Settlement Class as a whole. Here, “the

Philips Defendants are alleged to have designed, manufactured, sold, negligently failed to recall,

or negligently executed the recall of the Recalled Devices, all of which contained PE-PUR foam

that allegedly exposed all Settlement Class Members to increased risks of injuries.” (Preliminary

Approval, ECF No. 2864 at ¶16). To settle the non-individual medical monitoring claims, the

Philips Defendants agreed to provide $25 million to the MAP. That fund will be used to have

independent medical research conducted “to investigate the detection, diagnosis, and/or treatment

of injuries Settlement Class Members are allegedly at risk of sustaining, thereby contributing to

the advancement of public knowledge and education with respect to these injuries, and educate the

Settlement Class on the existing testing and literature with respect to PE-PUR foam.” Id. The MAP

will equitably benefit all Settlement Class Members uniformly for fifteen years in a non-

reversionary fund. This single, common remedy is appropriate to respond to the cohesive claims

of the class. See In re Welding Fume Prod. Liab. Litig., 245 F.R.D. 279, 290 (N.D. Ohio 2007)

(finding a court-supervised medical monitoring program for a class of plaintiffs not asserting injury

claims were “truly equitable in nature”); 2 WILLIAM B. RUBENSTEIN, NEWBERG AND RUBENSTEIN

ON CLASS ACTIONS § 4:31 (6th ed. 2024).

       This injunctive relief affects the Settlement Class as a whole and all members of the

Settlement Class will be entitled to benefit from it equally, without impact on an individual

member’s ability to pursue, subject to the laws of the applicable jurisdiction, a) individual medical

monitoring claims; b) claims settled pursuant to the economic loss settlement; c) if the Settlement

Class Member opted-out of the class action economic loss settlement, clams for economic losses

related to the Recalled Devices themselves; and d) claims for personal injury.




                                                 13
    Case 2:21-mc-01230-JFC               Document 3055    Filed 12/05/24      Page 14 of 126




       Because all relevant Rule 23(a) and (b) factors are met, and for the reasons set forth on the

record on October 30, 2024, the Settlement Class is certified only for purposes of settlement

approval.

            D. Appropriate Notice

       Under the Federal Rules of Civil Procedure, “for any class certified under Rule 23(b)(1) or

(b)(2), the court may direct appropriate notice to the class” Fed. R. Civ. P. 23(c)(2)(A) (emphasis

added). No notice is required for a Rule 23(b)(2) class, but a court can require notice, as was the

case here. (Preliminary Approval, ECF No. 2864 at ¶11). To clarify, notification of class

certification and lack of opt-out rights is discretionary under Rule 23(c), “but Rule 23(e) requires

that class members receive notification of any proposed settlement, and Rule 23(h) requires that

class members receive notice of any claim for an attorney’s fees award.” 2 WILLIAM B.

RUBENSTEIN, NEWBERG AND RUBENSTEIN ON CLASS ACTIONS § 4:36 (6th ed. 2024) (emphasis in

original); see Wal-Mart Stores, 564 U.S. at 362 (noting “mandatory notice, and the right to opt

out—are missing from (b)(2) not because the Rule considers them unnecessary, but because [they

are] unnecessary to a (b)(2) class.”).

       Here, before granting preliminary approval, the MDL Court scrutinized the Notice Plan,

which was posted on the Settlement Website and included frequently asked questions, as well as

the process for Settlement Class Members to object to the Settlement. The MDL Court directed

particular attention to the descriptions of Settlement benefits and releases, to ensure Settlement

Class Members were aware that they retained the right to pursue, subject to the laws of the

applicable jurisdiction: a) individual medical monitoring claims; b) claims settled pursuant to the

economic loss settlement; c) if the Settlement Class Member opted-out of the class action

economic loss settlement, claims for economic losses related to the Recalled Devices themselves;




                                                 14
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 15 of 126




and d) claims for personal injury. After some revisions to these documents, the MDL Court

approved the Settlement Notice plan. (Preliminary Approval, ECF No. 2864).

       In the Declaration of Orran L. Brown, Sr. of BrownGreer (ECF No. 3003-1), he detailed

how the Settlement Notice provided complied with the MDL Court’s Preliminary Approval Order

and met all requirements of Federal Rules of Civil Procedure Rule 23(c), 23(e), and 23(h), to

include: information regarding the definition of the class, the notice of attorneys’ fees to be

claimed, and the terms of the Settlement. The Settlement Notice advised that a Settlement Class

Member may object to the Settlement, as well as the request for service awards, attorneys’ fees

and costs, and enter an appearance to attend the final fairness hearing, described the binding effect

of a judgment on Settlement Class Members, and provided the date, time and location of the final

settlement hearing. Id. at 13. The MDL Court received 257 objections, all of which the MDL Court

reviewed. While no objectors attended the final settlement hearing, the MDL Court reviewed each

objection on the record and set forth the reasons why each objection was overruled. (Transcript,

ECF No. 3031 at 11-136).

           E. Whether the Settlement is Fair, Reasonable, and Adequate

               1. Analysis of Presumption of Fairness

                   a. Standards

       Having found that the notice was adequate, the MDL Court must next determine whether

the proposed settlement is “fair, reasonable, and adequate.” In re Prudential Ins. Co. Am. Sales

Prac. Litig. Agent Actions, 148 F.3d 282, 316 (3d Cir. 1998). The Third Circuit Court of Appeals

has a “strong judicial policy in favor of class action settlement.” Ehrheart v. Verizon Wireless, 609

F.3d 590, 595 (3d Cir. 2010), and has instructed district courts to apply a presumption of fairness

where: “(1) the settlement negotiations occurred at arm's length; (2) there was sufficient discovery;




                                                 15
    Case 2:21-mc-01230-JFC            Document 3055        Filed 12/05/24     Page 16 of 126




(3) the proponents of the settlement are experienced in similar litigation; and (4) only a small

fraction of the class objected.” In re Warfarin Sodium Antitrust Litig., 391 F.3d 516, 535 (3d Cir.

2004).

         Here, the Settlement was reached after a significant amount of discovery, which included

production of the named plaintiffs’ medical records, answers to interrogatories, and depositions,

(ECF No. 2950 at 20). There was more than a year of hard-fought, arm’s length negotiations among

experienced counsel, and mediation overseen by a retired federal magistrate judge. Because there

was a very small number of objectors given the size of the Settlement Class (257 out of a class of

greater than four million putative members who received notice by mail or email), and the other

three factors are present, the presumption of fairness applies.

         With this initial presumption of fairness in mind, the MDL Court will examine the Rule

23(e)(2) factors and the additional factors for consideration developed by the Third Circuit Court

of Appeals.

                    b. General

                        i.   Factors to consider under Rule 23(e)(2)

         In determining whether a proposed settlement is fair, adequate, and reasonable, Rule

23(e)(2) directs courts to consider whether:

         (A) the class representatives and class counsel have adequately represented the class;
         (B) the proposal was negotiated at arm's length;
         (C) the relief provided for the class is adequate, taking into account:
                 (i) the costs, risks, and delay of trial and appeal;
                 (ii) the effectiveness of any proposed method of distributing relief to the
                      class, including the method of processing class-member claims;
                 (iii) the terms of any proposed award of attorney's fees, including timing of
                      payment; and
                 (iv) any agreement required to be identified under Rule 23(e)(3); and
         (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).



                                                 16
    Case 2:21-mc-01230-JFC            Document 3055         Filed 12/05/24      Page 17 of 126




       Because this Settlement provides injunctive relief, the following Rule 23(e)(2)(C) factors

are not applicable: “the effectiveness of any proposed method of distributing relief to the class,

including the method of processing class-member claims” and “any agreement required to be

identified under Rule 23(e)(3).” Liberty Res., Inc. v. City of Phila., 2023 WL 3204018, *8 n.5

(E.D. Pa. May 1, 2023).

                       ii.   Additional factors to be considered

                             (a)   Girsh factors

       Through a series of decisions, the Third Circuit Court of Appeals identified additional

factors for district courts to evaluate prior to approving a settlement. First, in Girsh v. Jepson, the

court identified nine factors for consideration:

       (1) the complexity, expense and likely duration of the litigation;
       (2) the reaction of the class to the settlement;
       (3) the stage of the proceedings and the amount of discovery completed;
       (4) the risks of establishing liability;
       (5) the risks of establishing damages;
       (6) the risks of maintaining the class action through the trial;
       (7) the ability of the defendants to withstand a greater judgment;
       (8) the range of reasonableness of the settlement fund in light of the best possible
           recovery; [and]
       (9) the range of reasonableness of the settlement fund to a possible recovery in light
           of all the attendant risks of litigation.

521 F.2d 153, 157 (3d Cir.1975).

       The following Girsh factors— (5) risks of establishing damages, (7) ability of the

defendants to withstand a greater judgment, (8) range of reasonableness of the settlement fund in

light of the best possible recovery and (9) range of reasonableness of the settlement fund to a

possible recovery in light of all the attendant risks of litigation —are not applicable for an

injunctive relief settlement. Liberty Res., 2023 WL 3204018, at *10 n.10.

                             (b)   Prudential factors




                                                   17
    Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24   Page 18 of 126




       In order to account for the “sea-change in the nature of class actions” in the two decades

after Girsh, the court in Prudential identified six additional factors for consideration, when

appropriate:

       (1) the maturity of the underlying substantive issues, as measured by experience in
           adjudicating individual actions the development of scientific knowledge, the
           extent of discovery on the merits, and other factors that bear on the ability to
           assess the probable outcome of a trial on the merits of liability and individual
           damages;
       (2) the existence and probable outcome of claims by other classes and subclasses;
       (3) the comparison between the results achieved by the settlement for individual
           class or subclass members and the results achieved—or likely to be achieved—
           for other claimants;
       (4) whether class or subclass members are accorded the right to opt out of the
           settlement;
       (5) whether any provisions for attorneys' fees are reasonable; and
       (6) whether the procedure for processing individual claims under the settlement is
           fair and reasonable.

In re Prudential, 148 F.3d at 323.

       The Third Circuit Court of Appeals clarified that the Girsh factors are mandatory, and

district courts “must make findings as to each of the nine Girsh factors in order to approve a

settlement as fair, reasonable, and adequate, as required by Rule 23(e).” In re Pet Food Prod. Liab.

Litig., 629 F.3d 333, 350 (3d Cir. 2010). The Prudential factors, or considerations, on the other

hand, are permissive and “illustrative of additional inquiries that in many instances will be useful

for a thoroughgoing analysis of a settlement's terms.” Id.

                            (c)      Degree of direct benefit

       The Third Circuit Court of Appeals instructed district courts to consider the “degree of

direct benefit provided to the class.” In re Baby Prod. Antitrust Litig., 708 F.3d 163, 174 (3d Cir.

2013). As part of this consideration, courts may consider “the number of individual awards

compared to both the number of claims and the estimated number of class members, the size of

the individual awards compared to claimants' estimated damages, and the claims process used to



                                                  18
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 19 of 126




determine individual awards.” Id. While there are benefits being provided to the Settlement Class,

this factor is not particularly relevant because no individual monetary relief is being granted

(Settlement Agreement, ECF No. 2862).

               2. Analysis of Rule 23(e)(2)

                   a. Requirements of Rule 23(e)(2)

       The Settlement satisfies the requirements of Rule 23(e)(2). First, Settlement Class Counsel

and the Settlement Class Representatives adequately represented the Settlement Class. Here, the

experienced Plaintiffs’ litigators, worked with significant input from the Settlement Class

Representatives, and took depositions and reviewed medical information provided from other

named plaintiffs, in order to protect capably and adequately the interests of the Settlement Class.

Second, the parties negotiated the settlement at arm's length during mediations conducted by a

court-appointed, experienced, and independent mediator. The court considered that certifying a

Rule 23(b)(2) class for medical monitoring would be difficult (ECF Nos. 2273, 2521), because, if

there was no settlement, monetary relief to individual members would likely not be available on a

class-wide basis. See Wal-Mart Stores, 564 U.S. at 360-61.

       Third, all factors of Rule 23(e)(2)(C) are satisfied by settling the non-individual medical

monitoring claims at this time: (i) “continuing this litigation would cause the parties to incur

substantial additional costs and necessitate extensive trial preparation[,]” and “continuing through

trial and subsequent appeals would only delay any recovery class members may receive” Sorace,

2024 WL 643229, at *5; (ii) this factor is not directly applicable to the injunctive relief nature of

this Settlement, but the Settlement to the Settlement Class is appropriate to the extent that the

Settlement Notice complied with Rule 23 and adequately informed Settlement Class

Members about the Settlement; and (iii) the proposed award of attorneys’ fees and costs, the cost




                                                 19
    Case 2:21-mc-01230-JFC           Document 3055          Filed 12/05/24     Page 20 of 126




of Settlement Notice and Settlement Administration, and service awards to the Settlement Class

Representatives and named plaintiffs total approximately 20% of the Settlement award. After

review based upon the percentage range and lodestar calculation (ECF Nos. 2950, 2951), the court

determined that the service awards and attorneys’ fees and costs were reasonable, as will be

explained in greater detail below.

       The MDL Court, considering, among other things, that this Settlement does not release a)

individual medical monitoring claims; b) claims settled pursuant to the economic loss settlement;

c) if the Settlement Class Member opted-out of the class action economic loss settlement, claims

for economic losses related to the Recalled Devices themselves; or d) claims for personal injury,

concludes that relief to the Settlement Class is adequate. Because the Settlement is an injunctive

form of relief that affects the Settlement Class as a whole and all members of the Settlement Class

will be entitled to benefit from it equally, it equitably treats the Settlement Class Members.

                   b. Additional factors

                       i.    Girsh factors

       The first Girsh factor “captures the probable costs, in both time and money,

of continued litigation.” In re Warfarin, 391 F.3d at 535-36 (quoting In re Cendant Corp. Litig.,

264 F.3d 201, 233 (3d Cir. 2001)). Here, as in In re Suboxone (Buprenorphine Hydrochloride &

Naloxone) Antitrust Litig., No. 13-MD-2445, 2024 WL 815503 (E.D. Pa. Feb. 27, 2024),

continuing through trial would have required complicated and costly pretrial proceedings, “all

without guarantee of any recovery. Ultimately, the settlement eliminated these risks and provided

immediate and guaranteed recovery.” In re Suboxone, 2024 WL 815503, at *6. Because this

Settlement, like the settlement in In re Suboxone, “reduces expenses and avoids delay, this factor

weighs heavily in favor of approving the Settlement.” Id.




                                                 20
    Case 2:21-mc-01230-JFC            Document 3055          Filed 12/05/24      Page 21 of 126




        The second Girsh factor “attempts to gauge whether members of the class support the

settlement.” In re Prudential, 148 F.3d at 318. Out of the more than four million Settlement Class

Members to whom the Notice Administrator directed the Settlement Notice via email or U.S. Mail

(ECF No. 3003-1), the Settlement Administrator received only 257 objections (ECF Nos. 3005-

3010, 3013, 3014), representing a fraction of one percent of the Settlement Class. This factor

strongly favors approval of the Settlement.

        The third Girsh factor “ensure[s] that a proposed settlement is the product of informed

negotiations.” Id. at 319. Formal discovery, however, is not required— “[w]hat matters is not the

amount or type of discovery class counsel pursued, but whether they had developed enough

information about the case to appreciate sufficiently the value of the claims.” In re NFL Players

Concussion Inj. Litig., 821 F.3d 410, 439 (3d Cir. 2016), as amended (May 2, 2016). In its

preliminary approval hearing, the MDL Court took notice of the risks the Parties considered in

continuing litigation. Specifically, there were pending motions to dismiss, there was the potential

of adverse rulings with respect to jurisdictional issues, there was no signature injury, and it would

have been difficult to achieve a nationwide class certification in light of differing states’ laws. This

factor favors approval of the negotiated Settlement.

        The fourth Girsh factor considers the risks of establishing liability. Counsel representing

the Philips Defendants vigorously defended their clients in this multidistrict litigation, contesting

many issues of fact and liability, including personal jurisdiction over the foreign parent entity

KPNV. If KPNV prevailed on its motion to dismiss on jurisdictional grounds, which was still

pending at the time settlement was reached, there could be a risk that a substantial judgment against

Philips RS could not be satisfied. This factor favors approval of the Settlement.




                                                  21
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 22 of 126




       The sixth Girsh factor “measures the likelihood of obtaining and keeping a class

certification if the action were to proceed to trial.” In re Warfarin, 391 F.3d at 537. Settlement

Class Counsel were mindful that there were a number of legal and individual issues with respect

to Plaintiffs’ medical monitoring claims, that could create a substantial challenge to class

certification in a litigation context. The Philips Defendants repeatedly emphasized that the Third

Circuit Court of Appeals has not yet upheld certification of a medical monitoring class in a

litigation context. So too, courts have recognized that certification of a settlement class does not

pose the same hurdles that exist in a litigation context. See, e.g., In re Budeprion XL Mktg. & Sales

Litig., No. 09-MD-2107, 2012 WL 2527021, at *10 (E.D. Pa. July 2, 2012) (explaining that

“[b]ecause the Court is certifying a Rule 23(b)(2) settlement class receiving only injunctive relief,

it is freed from some of the problems that might arise if this litigation were tried”). However,

“[b]ecause there is always a ‘possibility of decertification, and consequently the court can always

claim this factor weighs in favor of settlement,’ this factor merits slight weight.” Sorace, 2024 WL

643229, at *7 (quoting In re Prudential, 148 F.3d at 321).

       Again, Girsh factors 5, 7, 8, and 9 are inapplicable. Liberty Res., 2023 WL 3204018, *10

n.10. But, when considering the reasonableness of the Settlement Fund in light of the best possible

recovery relative to the risks of litigation, the MDL Court must consider whether “the settlement

represents a good value for a weak case or a poor value for a strong case.” In re Warfarin, 391

F.3d at 538. Taken together, the applicable Girsh factors favor approval of the settlement.

                       ii.   Prudential factors

       The first Prudential factor— "maturity of the underlying substantive issues—substantially

mirrors Girsh factor three, the stage of the proceedings.” In re Suboxone, 2024 WL 815503, at *9.

Settlement Class Counsel conducted significant legal and factual investigations before beginning




                                                  22
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24       Page 23 of 126




settlement discussions. They also conducted formal and informal discovery of the Philips

Defendants. As a result, Settlement Class Counsel began the mediation process with substantial

information about the Recalled Devices, the conduct of the Philips Defendants leading to the

recalls, and the merits of the legal claims and factual allegations asserted in the Medical Monitoring

Complaint. In light of the findings in the Special Master’s R&R, (ECF No. 2273), the jurisdictional

concerns, and the pending motions to dismiss, there would have been substantial risk in proceeding

with litigation. This factor favors approval of the Settlement.

       Factor five, reasonableness of attorneys’ fees, is discussed in detail below, and favors

approval of the Settlement.

       Factors two, three and six look at the outcomes of claims by other classes and other

claimants, or the processing of individual claims, and are not applicable here. The settlement of

the non-individual medical monitoring claims does not affect an individual Settlement Class

Member’s ability to recover, subject to the laws of the applicable jurisdiction, for a) individual

medical monitoring claims; b) claims settled pursuant to the economic loss settlement; c) if the

Settlement Class Member opted-out of the class action economic loss settlement, claims for

economic losses related to the Recalled Devices themselves; or d) claims for personal injury.

       Factor four, the right to opt out, is also not applicable because for claims of injunctive

relief, the Settlement Class Members must be cohesive, and per Rule 23(b)(2), the “indivisible

nature of the injunctive or declaratory remedy warranted—the notion that the conduct is such that

is can be enjoined or declared unlawful only as to all of the Settlement Class Members or as to

none of them.” Gates v. Rohm & Haas Co., 655 F.3d 255, 263-64 (3d Cir. 2011). Therefore,

Settlement Class Members were not given an opportunity to opt out of the Settlement for the

establishment of the medical monitoring fund; they remain, however, able, subject to applicable




                                                 23
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 24 of 126




laws, to assert a) individual medical monitoring claims; b) claims settled pursuant to the economic

loss settlement; c) if the Settlement Class Member opted-out of the class action economic loss

settlement, claims for economic losses related to the Recalled Devices themselves; and d) claims

for personal injury, as may be appropriate for their individual circumstances and jurisdictions.

       After considering the applicable Prudential factors, the MDL Court finds they favor

approval of the Settlement.

                      iii.    Degree of direct benefit

       As discussed previously, this factor is not particularly relevant and does not weigh in favor

of or against approval of the Settlement.

               3. Conclusion with Respect to Fairness, Reasonableness and Adequacy of the
                  Medical Monitoring Settlement

       A court must only approve a settlement that is fair, reasonable, and adequate. Here, the

MDL Court conducted an assessment of the fairness, reasonableness, and adequacy of the

Settlement pursuant to Rule 23(e)(1)(B) of the Federal Rules of Civil Procedure. The MDL Court

finds: (a) the Parties reached the Settlement after investigating the strengths and weaknesses of the

Medical Monitoring Claims and the defenses; i.e., there was a robust period of discovery,

negotiation and mediation, and rulings by the Special Master and MDL Court about the viability

of medical monitoring claims in numerous states, which showed the risks of continued litigation,

such as the lack of a signature injury and jurisdictional concerns; (b) there were extensive

settlement negotiations at arm’s length and overseen by the court-appointed independent

Settlement Mediator; (c) there is no evidence of collusion in having reached this Settlement; (d)

the proponents of the Settlement are experienced in similar litigation; and (e) the Settlement

provides valuable tangible and intangible benefits for Settlement Class Members through the MAP

Benefits, which will fund independent medical research that will affect the Settlement Class



                                                 24
    Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 25 of 126




Members equitably as a whole and all members of the Settlement Class will be equally entitled to

benefit from it.

       The requirements of the Federal Rules of Civil Procedure, as well as the Girsh factors and

Prudential factors applicable to injunctive relief, are met by the Medical Monitoring Settlement.

           F. Objections

       At the final fairness hearing on October 30, 2024, the MDL Court addressed and overruled

the objections of 257 putative Settlement Class Members that were submitted to the Settlement

Administrator. The MDL Court reviewed each objection on the record. The MDL Court will not

readdress every objection here, as the record will reflect the court’s position with respect to each

objection. Attached as Exhibit A to this opinion is a chart prepared by the Settlement Class Counsel

listing the objections, the numbers used by the Settlement Class Counsel to identify each objection

submitted, the bases for the objections, and the responses to the objections. The most common

objection was a cursory objection where the member stated a general objection to the Settlement

or the fee request, without providing any specific grounds. As discussed during the hearing, the

responses were accepted by the MDL Court, and the objections were overruled. The MDL Court

will, however, briefly address two of the common positions taken by more than one objector.

       1. Many objectors based their objections—and some their only objection—on the

       fundamental misunderstanding that this Settlement somehow affected their rights to

       damages related to personal injury, economic loss due to product liability, or individual

       medical monitoring. To be clear, this Settlement is solely for medical monitoring research

       and does not strip the Settlement Class Members of any ability to assert claims, subject to

       the laws of the applicable jurisdiction, for a) individual medical monitoring claims; b)

       claims settled pursuant to the economic loss settlement; c) economic losses related to the




                                                25
      Case 2:21-mc-01230-JFC         Document 3055         Filed 12/05/24      Page 26 of 126




        Recalled Devices themselves, if the Settlement Class Member opted-out of the class action

        economic loss settlement; or d) claims for personal injury.

        2. Other objectors based their objections—and for some their only objection—on variations

        about the Settlement amount not being enough money for their losses or for the research.

        This generalized objection cannot suffice because the Settlement is a compromise made in

        negotiation, with a full understanding of the strengths and weaknesses of the case, “a

        yielding of the highest hopes in exchange for certainty and resolution.” In re Prudential,

        148 F.3d at 317; see In re Mexico Money Transfer Litig. (W. Union & Valuta), 164 F. Supp.

        2d 1002, 1028 (N.D. Ill. 2000) (“The court is called upon here to assess a settlement

        proposal, not the relief that would be accorded Plaintiffs were they to win their claims

        following litigation.”).



VI.     Attorneys’ Fees and Expenses

           A. Fees

               1. General

        Plaintiffs’ counsel seek an award of attorneys’ fees in the amount of $4.37 million, and

costs of $451,245.43. (ECF No. 2949). The Federal Rules of Civil Procedure provide that “[i]n a

certified class action, the court may award reasonable attorney[s’] fees . . . that are authorized by

law or by the parties’ agreement.” Fed. R. Civ. P. 23(h). Traditionally, there are two methods of

evaluating requests for attorneys’ fees: the percent-of-recovery method and the lodestar method.

In re Prudential, 148 F.3d at 333. The percent-of-recovery method “calculates the percentage of

the total recovery that the proposal would allocate to attorneys’ fees by dividing the amount of the

requested fee by the total amount paid out by the defendant . . . .” In re Cendant Corp. Litig., 264




                                                 26
    Case 2:21-mc-01230-JFC           Document 3055          Filed 12/05/24      Page 27 of 126




F.3d 201, 256 (3d Cir. 2001). “The percentage-of-recovery method is appropriate where, as here,

the value of the settlement to the class can be readily calculated.” Sorace, 2024 WL 643229, at

*12. The lodestar method is based on “the number of hours reasonably expended” to determine

“an adequate fee irrespective of the monetary value of the final relief achieved for the class.” In re

Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig., 55 F.3d 768, 821 (3d Cir. 1995).

       All class action settlements require “thorough judicial review of fee applications.” In re

Prudential, 148 F.3d at 333. Courts within the Third Circuit utilize the Gunter and Prudential

factors to determine the reasonableness of fee applications. See In re Diet Drugs, 582 F.3d at 541.

The Gunter factors include:

       (1) the size of the fund created and the number of persons benefitted;
       (2) the presence or absence of substantial objections by members of the class to the
           settlement terms and/or the fees requested by counsel;
       (3) the skill and efficiency of the attorneys involved;
       (4) the complexity and duration of the litigation;
       (5) the risk of nonpayment;
       (6) the amount of time devoted to the case by counsel; and
       (7) awards in similar cases.

Id. The Prudential factors are:

       (1) the value of benefits accruing to class members attributable to the efforts of
           class counsel as opposed to the efforts of other groups, such as government
           agencies conducting investigations;
       (2) the percentage fee that would have been negotiated had the case been subject to
           a private contingent fee agreement at the time counsel was retained; and
       (3) any “innovative” terms of settlement.

Id. These factors ‘“need not be applied in a formulaic way’ because each case is different, ‘and in

certain cases, one factor may outweigh the rest.”’ Id. at 545 (quoting In re AT & T Corp., Sec.

Litig., 455 F.3d 160, 166 (3d Cir. 2006). After considering the Gunter and Prudential factors, the

Third Circuit Court of Appeals has advised that “it is sensible for a court to use a second method

of fee approval to cross check its initial fee calculation.” In re Prudential, 148 F.3d at 333.




                                                 27
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24       Page 28 of 126




               2. Gunter factors

                   a. The amount of the value created and the number of persons benefitted

       Under the terms of the Settlement Agreement (ECF No. 2864), the Medical Monitoring

Settlement Fund was established at $25 million. The Settlement is an injunctive form of relief that

affects the class as a whole, and all of the more than four million members of the Settlement Class

will be entitled to benefit from the MAP research equally, without impacting their individual

rights, subject to the laws of the applicable jurisdiction, to assert claims for a) individual medical

monitoring; b) the benefits of the economic loss settlement; c) if the Settlement Class Member

opted-out of the class action economic loss settlement, economic losses related to the Recalled

Devices themselves; and d) personal injury.

       After subtracting the costs for the Claims’ Administrator, attorneys’ fees and held costs, 6

and the service awards, the total fund remaining is approximately $20 million. The $4.37 million

attorneys’ fee request equates to 17.5% of the $25 million non-reversionary cash settlement. (ECF

Nos. 2949, 2950). This percentage falls well within the accepted range of up to 45% of the common

fund approved within the Third Circuit. Sorace, 2024 WL 643229, at *13.

       Approximately fifteen members of the more than four million Settlement Class Members

contacted by mail or email for input objected that the attorneys’ fees are too high when Settlement

Class Members are not getting any direct monetary benefit from the Settlement. This is true, but

expected in a Rule 23(b)(2) injunctive relief settlement. Courts recognize “a lawyer who recovers

a common fund for the benefit of persons other than himself or his client is entitled to a reasonable




6
 Held costs were defined in the court’s pretrial order No. 13 and are expenses incurred by
Plaintiffs’ counsel in prosecution of this multidistrict case. “[T]he CPA makes sure there is strict
compliance with the court’s orders as to receipts … and those are all audited on a monthly
basis.” (Transcript of Final Fairness Hearing, ECF No. 3031 at 173).

                                                 28
    Case 2:21-mc-01230-JFC            Document 3055          Filed 12/05/24      Page 29 of 126




attorney’s fee from the fund as a whole.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).

The amount of value created and number of persons benefitted favors approval of the attorneys’

fees.

                    b. The presence or absence of substantial objections by members of the
                       class to the settlement terms and/or fees requested by counsel

        Settlement Class Counsel reported that there were twenty-six conclusory objections to the

attorneys’ fee request with no further actionable rationale provided, and an additional thirty-four

objections from members who erroneously believed they would be responsible for paying the

attorneys’ fees as a member of the Settlement Class. (ECF No. 3015-2). At the final fairness

hearing on October 30, 2024, Settlement Class Counsel attested to the court that they had made

contact with each objector who was concerned about having to pay the fees and assured that

Settlement Class Member that this was not the case; all attorneys’ fees and costs will be paid from

the Settlement Fund and no individual Settlement Class Member will be responsible for payment

of any fees or costs. (Transcript, ECF No. 3031).

        Other individual members objected to attorneys negotiating on their behalf, or without their

consent, or because they erroneously thought they could opt out of this class settlement, perhaps

confusing it with the economic loss settlement action. These objections do not weigh against

awarding the fees requested.

                   c.   The skill and efficiency of the attorneys involved

        “The Third Circuit has explained that the goal of the percentage fee-award device is to

ensure ‘that competent counsel continue to undertake risky, complex, and novel litigation.’” In re

Suboxone, 2024 WL 815503, at *14 (quoting Gunter, 223 F.3d at 198). “‘The single clearest factor

reflecting the quality of class counsels’ services to the class are the results obtained.’” Id. (quoting

Cullen v. Whitman Med. Corp., 197 F.R.D. 136, 149 (E.D. Pa. 2000)). As previously discussed,



                                                  29
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 30 of 126




Settlement Class Counsel are skilled and effective class action litigators that have obtained a

favorable settlement of the class economic loss claims and the medical monitoring claims in this

complex class action multidistrict litigation case.

                   d. The complexity and duration of the litigation

        Before reaching the Settlement, the medical monitoring claims in this case were actively

litigated for over a year. The case involved complex legal issues, including those raised in the

various motions to dismiss filed by the Philips Defendants. Settlement Class Counsel worked

extensively with the Class Representatives and experts to address complex issues related to

medical monitoring claims and to analyze class certification and jurisdiction theories. In short, the

litigation has been more than sufficiently lengthy and complex to justify the requested attorneys’

fees.

                   e. The risk of nonpayment

        Settlement Class Counsel litigated this case on a contingency fee basis, which carries a

significant risk of nonpayment; in fact, “[a]ny contingency fee arrangement includes a risk of no

payment.” O'Keefe v. Mercedes-Benz USA, LLC, 214 F.R.D. 266, 309 (E.D. Pa. 2003)). As was

the case in Sorace, here, “[s]uccess was not guaranteed in this case, and the risk undertaken by

counsel merits approval of the requested fees.” Sorace, 2024 WL 643229, at *13.

                   f.   The amount of time devoted to the case by plaintiff's counsel

        Settlement Class Counsel received compensation for their efforts with respect to the class

economic loss settlement, but have not received any compensation for their efforts regarding the

class medical monitoring claims during the two-plus years this litigation has continued. As

discussed below, in the lodestar crosscheck, Settlement Class Counsel risked $451,245.43 in out-

of-pocket expenses and 7,742 hours of work with the knowledge that, should their efforts not yield




                                                 30
    Case 2:21-mc-01230-JFC            Document 3055          Filed 12/05/24      Page 31 of 126




the desired result of recovery for the Plaintiffs, they would not be reimbursed or compensated.

Settlement Class Counsel testified to the court at the final fairness hearing that no time allocated

to the Medical Monitoring Claims Settlement overlapped with any hours billed under the economic

loss or personal injury settlement lines of effort. (Transcript, ECF No. 3031). The amount of time

worked and the negative lodestar multiplier, discussed below, favor approval.

                   g. The awards in similar cases

       In common fund cases, fee awards generally range from 19% to 45% of the settlement

fund. Sorace, 2024 WL 643229, at *13. The requested fee award of $4.37 million represents 17.5%

of the $25 million non-reversionary Settlement fund. The request also represents a negative

multiplier of the lodestar, discussed below, which indicates the amount of the fee is “reasonable

on its face.” Calhoun v. TJM Trevose, LLC, No. 2:22-CV-3852, 2023 WL 5208853 (E.D. Pa. Aug.

14, 2023). One objector stated the attorneys should only be paid “for the hours they actually

worked,” which would be the lodestar amount. The fee requested is substantially less than the

lodestar. Because the requested fee award is below the low-end of the accepted range, this factor

heavily favors approval.

               3. Prudential factors

                   a. The value of benefits accruing to class members attributable to the
                      efforts of class counsel as opposed to the efforts of other groups, such
                      as government agencies conducting investigations

       The United States Food and Drug Administration (“FDA”) and Department of Justice have

taken some actions with respect to the Recalled Devices; however, Settlement Class Counsel here

have “not relied on the government or other public agencies to do their work for them as has

occurred in some cases.” In re Diet Drugs, 582 F.3d at 544. Settlement Class Counsel were

appointed to represent the Plaintiffs in this multidistrict litigation and have been actively litigating




                                                  31
    Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 32 of 126




this action, including drafting and filing the Medical Monitoring Complaint, responding to motions

to dismiss, and pursuing and analyzing discovery, “without assistance from the government or any

third parties. The FDA did not participate in any of the discovery or settlement negotiation between

the Parties, nor is it a signatory to the Settlement.” (ECF No. 2950). In addition, the Settlement’s

MAP Benefits are distinct from any actions being taken in pursuit to the FDA Consent Decree.

The FDA research is concentrating on the study of “long-term health effects associated with” the

alleged volatile organic compounds “and particles of the Recalled Devices,” while the MAP

research aims to focus on earlier detection of injuries “that [were] alleged to be caused by the

Recalled Devices.” (Transcript, ECF No. 3031 at 31-32).

                   b. The percentage fee that would have been negotiated had the case been
                      subject to a private contingent fee agreement at the time counsel was
                      retained

       “Attorneys regularly contract for contingent fees between 30% and 40% with their clients

in non-class, commercial litigation.” In re Ins. Brokerage Antitrust Litig., 297 F.R.D. 136, 156

(D.N.J. 2013). Here, Settlement Class Counsel’s request for 17.5% of the Settlement Fund is

“significantly lower than customary percentages in private contingent fee agreements” providing

a greater recovery for Settlement Class Members. (ECF No. 2950 at 39). This factor favors the

award of the fees requested.

                   c.   Any “innovative” terms of settlement

       The Settlement Agreement provides equitable benefits of medical monitoring research to

the entire Settlement Class. All Settlement Class Members may utilize to the MAP Program’s

Benefits, which will “incorporate medical research funding, a medical registry, an interactive

Settlement Website that provides Settlement Class Members with up-to-date Relevant Medical

Information and Guidance with respect to the specific injuries at issue in the litigation in a user-




                                                32
    Case 2:21-mc-01230-JFC           Document 3055         Filed 12/05/24      Page 33 of 126




friendly format for individuals that do not have a medical or scientific background.” (ECF No.

2950 at 31). These innovative benefits will be available for fifteen years without having any

impact on individual Settlement Class Members’ abilities to pursue claims for personal injury or

economic loss or for relief for individual medical monitoring. Id. These beneficial and innovative

terms of the Settlement Agreement weigh in favor of approval of the requested fees.

               4.   Lodestar Crosscheck

       The percent recovery award of 17.5% of the Settlement Fund is well within the acceptable

ranges approved by courts within the Third Circuit. Settlement Class Counsel spent 7,742 hours

during the relevant period litigating the medical monitoring claims and facilitating this Settlement.

(ECF No. 2950 at 36). The total lodestar, based on all fee applicants’ reported hours and currently

stated hourly rates, is $6,084,024.90. Id. The blended hourly rate for all fee applicants is $785.85,

determined by taking the total lodestar divided by the total hours. Here, the requested $4.37 million

for attorneys’ fees represents a 0.72 multiplier of Settlement Class Counsel’s reported lodestar, a

negative multiplier. Id. at 41. Courts have found that a negative multiplier demonstrates the

reasonableness of the fee request. In re Ins. Brokerage, 297 F.R.D. at 184. This factor weighs in

favor of the award of the fees requested.

           B. Expenses

       Along with their request for attorneys’ fees in the amount of $4.37 million, the Settlement

Class Counsel are seeking $451,245.43 in held costs. (ECF No. 2949). “Counsel for a class action

is entitled to reimbursement of expenses that were adequately documented and reasonably and

appropriately incurred in the prosecution of the class action.” In re Safety Components, Inc. Sec.

Litig., 166 F. Supp. 2d 72, 108 (D.N.J. 2001) (citing Abrams v. Lightolier Inc., 50 F.3d 1204, 1225

(3d Cir. 1995)). Settlement Class Counsel represented that “[t]hese expenses were reviewed by the




                                                 33
       Case 2:21-mc-01230-JFC        Document 3055          Filed 12/05/24      Page 34 of 126




Accountant, Co-Lead Counsel, and the [Time and Expense Subcommittee] for compliance with

PTO 13.” (ECF No. 2950). Settlement Class Counsel explained to the MDL Court, on the record,

at the final fairness hearing that they could not practically separate the held costs in a manner that

would account for expenses that were only incurred for economic loss claims settlement efforts

from expenses incurred for other claims asserted in this multidistrict litigation, but assured the

MDL Court that no duplicative reimbursement was requested. (Transcript, ECF No. 3031 at 173).

Thus, the expenses were “adequately documented and reasonably and appropriately incurred in

the prosecution of [this] class action.” In re Safety Components, 166 F. Supp. 2d at 108. This factor

weighs in favor of the award of the held costs requested.



VII.     Service awards

         Settlement Class Counsel testified at the final fairness hearing in detail that the service

awards totaling $179,000 were based on the efforts that each recipient spent in supporting the

litigation. (ECF No. 2950). In total, monetary awards were requested for fifty-five named

plaintiffs, in addition to the two Class Representatives. Settlement Class Counsel testified that the

Class Representatives individually contributed “in excess of 80 hours” toward the efforts of this

litigation and requested $5,000 for each of them. (Transcript, ECF No. 3031 at 163). Twenty-one

named Settlement Class plaintiffs engaged in discovery and preparation for depositions and

Settlement Class Counsel requested $4,000 for each of them. Thirty-four named plaintiffs

contributed by producing medical records and responding to interrogatories, and Settlement Class

Counsel requested $2,500 for each of them. (ECF No. 2949-1). See In re Nat'l Collegiate Athletic

Ass'n Student-Athlete Concussion Inj. Litig., 332 F.R.D. 202, 228-29 (N.D. Ill. 2019), aff'd sub

nom. Walker v. Nat'l Collegiate Athletic Ass'n, No. 19-2638, 2019 WL 8058082 (7th Cir. Oct. 25,




                                                 34
        Case 2:21-mc-01230-JFC        Document 3055         Filed 12/05/24      Page 35 of 126




 2019). Based upon those representations, and the MDL Court’s review of the summary of these

 awards, the MDL Court finds them to be reasonable and consistent with those requested in similar

 complex litigations. See In re Suboxone, 2024 WL 815503, at *18-19 (citing decisions). The

 service awards requested will be approved.



VIII.     Conclusion

          Based on the foregoing, and consistent with the MDL Court’s findings and rulings at the

 October 30, 2024 final fairness hearing, the MDL Court finds that: (1) all the requirements for

 class certification for purposes of Settlement have been met; (2) there was appropriate notice of

 the Settlement of the Medical Monitoring Claims; and (3) the Settlement is fair, reasonable, and

 adequate. Additionally, for the reasons set forth in more detail on the record, the objections to the

 Settlement raised by 257 putative Settlement Class Members are overruled. Lastly, the MDL Court

 approves the requested amount of the attorneys’ fees and costs, and service awards. Appropriate

 orders will follow.



                                                       BY THE COURT:


          December 5, 2024                             /s/ Joy Flowers Conti
                                                       Joy Flowers Conti
                                                       Senior United States District Court Judge




                                                  35
Case 2:21-mc-01230-JFC   Document 3055   Filed 12/05/24   Page 36 of 126




                   EXHIBIT A
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 37 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                        Brief Citations
No.
1     Ackley,          B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
      Veronica                 direct compensation to users of Recalled          benefits to the Settlement Class as a whole
      (formerly Rubio,         Devices.                                          and is a fair, reasonable and adequate
      Veronica)                                                                  compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                      H.       Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                 appropriate because Defendants acted or
                                                                                 refused to act in a way that is applicable to the
                                                                                 entire class, making equitable and/or
                                                                                 declaratory relief for the class as a whole
                                                                                 appropriate. Class certification does not
                                                                                 violate constitutional rights. Settlement Class
                                                                                 Members are not prejudiced because they can
                                                                                 still pursue individual claims for payment of
                                                                                 medical monitoring expenses.
                      J.       Objects regarding the objection process.          The objection process was the same as in the      § III.D.4, n.24.
                                                                                 Economic Loss Settlement, and Settlement
                                                                                 Class Members were able to contact the
                                                                                 Settlement Administrator and Settlement
                                                                                 Class Counsel via the Settlement Website for
                                                                                 more information. The Notice, Settlement
                                                                                 Website, and direct outreach to objectors
                                                                                 satisfied due process.
                      K.       Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                               for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                                 Settlement Fund after Final Approval;
                                                                                 Settlement Class Members will not be


                                                                          1
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 38 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                      Brief Citations
No.
                                                                                  responsible to pay those fees, expenses or
                                                                                  service awards.




2     Adkins, Daniel    I.      Objects to being included in the Settlement Class Members are not required to take                § III.D.3, n.23.
                                since Objector does not want any benefits,    advantage of or use any of the MAP Benefits.
                                believing he had great results from using his
                                Recalled Device.
3     Aidasani, Dilip   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable       § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
                        C.      Objects that the Settlement does not              The Settlement does not preclude individual     § III.D.2, n.15.
                                adequately punish the Philips Defendants.         claims for economic loss and personal injury,
                                                                                  and the Philips Defendants also have entered
                                                                                  into a Court-approved settlement of the
                                                                                  Economic Loss Claims and a proposed
                                                                                  private settlement program for many Personal
                                                                                  Injury claims.
                        G.      Objects that the Settlement is insufficient       Settlement does not release Personal Injury     § III.D.2b, n.22.
                                because it does not compensate for personal       Claims or individual claims for payment of
                                injuries or medical expenses.                     medical monitoring expenses.

4     Airey, Linda      A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.           § III.D.1, n.13.



                                                                           2
                             Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 39 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                  Response                       Brief Citations
No.
5     Albino, Jeffrey   B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
                                users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                                and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.
                        L.      Conclusory objection to fees,                   Conclusory objection is insufficient.            § III.D.5, n.26.
                                reimbursement of expenses and/or service
                                awards.
                        Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic     Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements       Personal Injury Claims and individual claims
                                (EL/PI).                                        for payment of medical monitoring expenses.
                        C.      Objects that the Settlement does not hold       The Settlement does not preclude individual      § III.D.2, n.15.
                                the Philips Defendants accountable.             claims for economic loss and personal injury,
                                                                                and the Philips Defendants also have entered
                                                                                into a Court-approved settlement of the
                                                                                Economic Loss Claims and a proposed
                                                                                private settlement program for many Personal
                                                                                Injury claims.




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                         Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 40 of 126

                    AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.              Objection Description                                  Response                        Brief Citations
No.
                    H.      Objects to waiving his rights to sue in the    Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                            future.                                        appropriate because Defendants acted or
                                                                           refused to act in a way that is applicable to the
                                                                           entire class, making equitable and/or
                                                                           declaratory relief for the class as a whole
                                                                           appropriate. Class certification does not
                                                                           violate constitutional rights. Settlement Class
                                                                           Members are not prejudiced because they can
                                                                           still pursue individual claims for payment of
                                                                           medical monitoring expenses.
6     Ames, Jeff    B.      Objects that there is no direct compensation   Settlement provides significant equitable         § III.D.2, n.14.
                            to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                           and is a fair, reasonable and adequate
                                                                           compromise after weighing the substantial
                                                                           expense, delay and risks of continued
                                                                           litigation.

                    C.      Objects that the Settlement does not hold      The Settlement does not preclude individual       § III.D.2, n.15.
                            the Philips Defendants accountable.            claims for economic loss and personal injury,
                                                                           and the Philips Defendants also have entered
                                                                           into a Court-approved settlement of the
                                                                           Economic Loss Claims and a proposed
                                                                           private settlement program for many Personal
                                                                           Injury claims.

                    Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the    § III.D.6, n.30.
                            Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                            losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                            confusion regarding the other settlements      Personal Injury Claims and individual claims
                            (EL/PI).                                       for payment of medical monitoring expenses.


                                                                    4
                              Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 41 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector        Obj.               Objection Description                                  Response                       Brief Citations
No.
7     Baker, Dante       A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.

8     Barba, Dana        B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
                                 Users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                                 and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.

                         Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
                                 Respironics Recall, their personal economic     Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements       Personal Injury Claims and individual claims
                                 (EL/PI).                                        for payment of medical monitoring expenses.
                         L.      Conclusory objection to fees,                   Conclusory objection is insufficient.            § III.D.5, n.26.
                                 reimbursement of expenses and/or service
                                 awards.
9     Beyer, Charlotte   A.      Conclusory objection to Settlement.             Conclusory objection is insufficient             § III.D.1, n.13.

                         K.      Objects to being individually responsible       Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                 for attorneys’ fees.                            awarded by the Court will be paid from the
                                                                                 Settlement Fund after Final Approval;
                                                                                 Settlement Class Members will not be
                                                                                 responsible to pay those fees, expenses or
                                                                                 service awards.
10    Birkholz, Mike     A.      Conclusory objection to Settlement.             Conclusory objection is insufficient             § III.D.1, n.13.




                                                                            5
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 42 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                       Brief Citations
No.
11    Blake, Ronald     B.      Objects that there is little or no benefit to     Settlement provides significant equitable        § III.D.2, n.14.
                                users of Recalled Devices.                        benefits to the Settlement Class as a whole
                                                                                  and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
12    Weary, Otis       A.      Conclusory objection to Settlement.               Conclusory objection is insufficient             § III.D.1, n.13.
13    Blatt, Geoffrey   Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.
14    Boardman,         A.      Conclusory objection to Settlement.               Conclusory objection is insufficient             § III.D.1, n.13.
      David
15    Ashley,           B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Jonathan                  direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
16    Booker, Linda     K.      Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
      Balthis                   for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                                  Settlement Fund after Final Approval;
                                                                                  Settlement Class Members will not be
                                                                                  responsible to pay those fees, expenses or
                                                                                  service awards.



                                                                           6
                         Case 2:21-mc-01230-JFC         Document 3055        Filed 12/05/24      Page 43 of 126

                    AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.              Objection Description                                   Response                        Brief Citations
No.
17    Bruce, Ben    Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the    § III.D.6, n.30.
                            Respironics Recall, their personal economic     Economic Loss and Personal Injury Master
                            losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                            confusion regarding the other settlements       Personal Injury Claims and individual claims
                            (EL/PI).                                        for payment of medical monitoring expenses.

18    Buck, Bebe    H.      Objects to not being able to opt out.           Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                            appropriate because Defendants acted or
                                                                            refused to act in a way that is applicable to the
                                                                            entire class, making equitable and/or
                                                                            declaratory relief for the class as a whole
                                                                            appropriate. Class certification does not
                                                                            violate constitutional rights. Settlement Class
                                                                            Members are not prejudiced because they can
                                                                            still pursue individual claims for payment of
                                                                            medical monitoring expenses.

                    L.      Conclusory objection to fees,                   Conclusory objection is insufficient.             § III.D.5, n.26.
                            reimbursement of expenses and/or service
                            awards.
19    Barnhouse,    A.      Objects to the settlement and request for       Conclusory objection is insufficient;             § III.D.1, n.13;
      Dicia         L.      attorneys’ fees because she believes that she   Settlement is separate from the Economic          § III.D.5, n.26;
                    Q.      has opted out of the settlement (perhaps        Loss Settlement. Settlement explicitly            § III.D.6, n.30.
                    S.      confused with economic loss settlement).        preserves Economic Loss Claims, Personal
                                                                            Injury Claims and individual claims for
                                                                            payment of medical monitoring expenses.




                                                                    7
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 44 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                       Brief Citations
No.
20    Caughron,        Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
      Richard by               Respironics Recall, their personal economic     Economic Loss and Personal Injury Master
      Caughron,                losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
      Lynda                    confusion regarding the other settlements       Personal Injury Claims and individual claims
                               (EL/PI).                                        for payment of medical monitoring expenses.
21    Chachere,        B.      Objects that there is no direct compensation    Settlement provides significant equitable        § III.D.2, n.14.
      George                   to users of Recalled Devices.                   benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
22    Cook, Ericka     A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.

23    Cornell, Lesa    Q.      Objects because of concern with possible        Settlement is separate from the Recall and the   § III.D.6 n.30.
                               future health conditions and costs.             Economic Loss and Personal Injury Master
                                                                               Settlements. Settlement explicitly preserves
                                                                               Personal Injury Claims and individual claims
                                                                               for payment of medical monitoring expenses.
24    Cover, William   B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.




                                                                          8
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 45 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                        Brief Citations
No.
                       F.      Objects that MAP Research funds will              There is no support for the objection;            § III.D.2a, n.21.
                               financially benefit the Philips Defendants.       Settlement Class Members are the
                                                                                 beneficiaries of the MAP Research program
                                                                                 designed to advance public knowledge
                                                                                 regarding the detection, diagnosis, and/or
                                                                                 treatment of the injuries alleged to have been
                                                                                 caused by use of the Recalled Devices. See
                                                                                 Bowling v. Pfizer, Inc., 143 F.R.D. 141, 166
                                                                                 (S.D. Ohio 1992).
25    Davila, Ileana   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.

                       H.      Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                 appropriate because Defendants acted or
                                                                                 refused to act in a way that is applicable to the
                                                                                 entire class, making equitable and/or
                                                                                 declaratory relief for the class as a whole
                                                                                 appropriate. Class certification does not
                                                                                 violate constitutional rights. Settlement Class
                                                                                 Members are not prejudiced because they can
                                                                                 still pursue individual claims for payment of
                                                                                 medical monitoring expenses.

                       O.      Objects to having lawyers chosen for her          The Court appointed experienced Settlement        § III.D.5, n.29.
                               and to attorneys’ fees because they are the       Class Counsel after determining that Counsel
                               only ones receiving any benefit.                  would fairly and adequately represent the
                                                                                 Class; and the Settlement provides significant

                                                                          9
                              Case 2:21-mc-01230-JFC         Document 3055      Filed 12/05/24      Page 46 of 126

                          AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector        Obj.              Objection Description                                 Response                        Brief Citations
No.
                                                                               equitable MAP Benefits to the Settlement
                                                                               Class.
                         Y.      Objects because Settlement Class Counsel      Settlement Class Members were notified of        § III.B.
                                 never communicated personally with her        the Settlement and proposed MAP Benefits
                                 about the Settlement.                         and given a right to object; Notice Plan was
                                                                               “appropriate under the circumstances” to
                                                                               apprise the Settlement Class Members of the
                                                                               terms and benefits of the proposed
                                                                               Settlement,” and “constitute[d] due, adequate,
                                                                               and sufficient notice,” and “m[et] all
                                                                               applicable requirements of law.” PAO ¶ 11.

                         R.      Objects based on misunderstanding that        Objection is based on a misunderstanding of      § III.D.6, n.31.
                                 they are automatically enrolled in the MAP    the Settlement. Settlement Class Members
                                 Registry.                                     can elect to participate in the MAP Registry. It
                                                                               is optional and enrollment is not automatic.
                                                                               Settlement Class Members’ medical
                                                                               information will remain private unless they
                                                                               affirmatively authorize its disclosure.

26    Daley, Elisabeth   Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
      L.                         Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements     Personal Injury Claims and individual claims
                                 (EL/PI).                                      for payment of medical monitoring expenses.
                         J.      Objects that the process for objecting is     The objection process was the same as in the     § III.D.4, n.24.
                                 unclear.                                      Economic Loss Settlement, and Settlement
                                                                               Class Members were able to contact the
                                                                               Settlement Administrator and Settlement
                                                                               Class Counsel via the Settlement Website for

                                                                         10
                           Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 47 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                 Response                        Brief Citations
No.
                                                                            more information. The Notice, Settlement
                                                                            Website, and direct outreach to objectors
                                                                            satisfied due process
27    Daniels, Alan   Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                              Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements     Personal Injury Claims and individual claims
                              (EL/PI).                                      for payment of medical monitoring expenses.
28    Datian, John    R.      Objects based on misunderstanding that he     Objection is based on a misunderstanding of      § III.D.6, n.31.
                              is automatically enrolled in the MAP          the Settlement. Settlement Class Members
                              Registry.                                     can elect to participate in the MAP Registry. It
                                                                            is optional and enrollment is not automatic.
                                                                            Settlement Class Members’ medical
                                                                            information will remain private unless they
                                                                            affirmatively authorize its disclosure.

                      H.      Objects to being forced into a Settlement.    Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                            appropriate because Defendants acted or
                                                                            refused to act in a way that is applicable to the
                                                                            entire class, making equitable and/or
                                                                            declaratory relief for the class as a whole
                                                                            appropriate. Class certification does not
                                                                            violate constitutional rights. Settlement Class
                                                                            Members are not prejudiced because they can
                                                                            still pursue individual claims for payment of
                                                                            medical monitoring expenses.




                                                                     11
                           Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 48 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                 Response                       Brief Citations
No.
29    Daugherty,      Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
      Michael D.              Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements     Personal Injury Claims and individual claims
                              (EL/PI).                                      for payment of medical monitoring expenses.
30    Flechsig,       K.      Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
      Richard                 for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                            Settlement Fund after Final Approval;
                                                                            Settlement Class Members will not be
                                                                            responsible to pay those fees, expenses or
                                                                            service awards.
31    Davis, Nic      A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.

                      J.      Objects regarding the objection process.      The objection process was the same as in the     § III.D.4, n.24.
                                                                            Economic Loss Settlement, and Settlement
                                                                            Class Members were able to contact the
                                                                            Settlement Administrator and Settlement
                                                                            Class Counsel via the Settlement Website for
                                                                            more information. The Notice, Settlement
                                                                            Website, and direct outreach to objectors
                                                                            satisfied due process.
32    de Castro,      A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.
      Michael
33    Dimig, Terrie   A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.




                                                                    12
                          Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 49 of 126

                     AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector    Obj.               Objection Description                                  Response                        Brief Citations
No.
34    Dionne, Lara   B.      Objects that there is little or no benefit to   Settlement provides significant equitable         § III.D.2, n.14.
                             users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.
                     H.      Objects to not being able to opt out.           Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                             appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.

                     L.      Conclusory objection to fees,                   Conclusory objection is insufficient.             § III.D.5, n.26.
                             reimbursement of expenses and/or service
                             awards.
                     D.      Objects to the release of her class claims.     Objection ignores the significant risks of     § III.D.2, n.16.
                                                                             obtaining class certification even in states
                                                                             where the law on medical monitoring
                                                                             supports Plaintiffs’ allegations. Individual
                                                                             issues such as exposure to alleged foam toxins
                                                                             and unique medical circumstances, among
                                                                             others, present substantial hurdles to class
                                                                             certification.



                                                                       13
                                Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 50 of 126

                            AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
          Objector         Obj.              Objection Description                                  Response                      Brief Citations
No.
35    Heeter, Gregory      K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                                   for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                                  Settlement Fund after Final Approval;
                                                                                  Settlement Class Members will not be
                                                                                  responsible to pay those fees, expenses or
                                                                                  service awards.
36    Dolliver, Duane      J.      Objects to not being able to submit an         The objection process was the same as in the    § III.D.4, n.24.
                                   online objection form.                         Economic Loss Settlement, and Settlement
                                                                                  Class Members were able to contact the
                                                                                  Settlement Administrator and Settlement
                                                                                  Class Counsel via the Settlement Website for
                                                                                  more information. The Notice, Settlement
                                                                                  Website, and direct outreach to objectors
                                                                                  satisfied due process.

                           P.      Objects to attorneys’ fees of up to 20%        The Settlement provides significant equitable   § III.D.5, n.29.
                                   when Settlement Class is not receiving any     MAP Benefits to the Settlement Class.
                                   monetary benefit from the Settlement.
37    Jones, Jr., Leslie   B.      Objects that there is no direct compensation   Settlement provides significant equitable       § III.D.2, n.14.
                                   to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                                  and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.




                                                                            14
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 51 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                        Brief Citations
No.
38    Dudley, Dennis   J.      Objects that the process for objecting is         The objection process was the same as in the      § III.D.4, n.24.
      G. by Dudley,            unclear.                                          Economic Loss Settlement, and Settlement
      Pamela                                                                     Class Members were able to contact the
                                                                                 Settlement Administrator and Settlement
                                                                                 Class Counsel via the Settlement Website for
                                                                                 more information. The Notice, Settlement
                                                                                 Website, and direct outreach to objectors
                                                                                 satisfied due process.
                       B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                       Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.

                       E.      Objects that it is unclear to whom the MAP        Objection ignores the multiple provisions and     § III.D.2a, n.18.
                               Research funding will go, how the                 safeguards in the Settlement Agreement to
                               information will be properly tracked, and         ensure the MAP Research is independent and
                               suggests alternative purposes for the MAP         beneficial and that the grant selection, award
                               Research.                                         process, and results are transparent, including
                                                                                 through ongoing judicial oversight.




                                                                         15
                           Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 52 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                  Response                       Brief Citations
No.
                      F.      Objects that MAP Research funds will           There is no support for the objection;           § III.D.2a, n.21.
                              financially benefit the Philips Defendants.    Settlement Class Members are the
                                                                             beneficiaries of the MAP Research program
                                                                             designed to advance public knowledge
                                                                             regarding the detection, diagnosis, and/or
                                                                             treatment of the injuries alleged to have been
                                                                             caused by use of the Recalled Devices. See
                                                                             Bowling v. Pfizer, Inc., 143 F.R.D. 141, 166
                                                                             (S.D. Ohio 1992).
                      Z.      Objection suggests alternative purposes for    Objection ignores that purpose of MAP            § III.D.2a, n.20.
                              the MAP Research.                              Research is closely related to the Medical
                                                                             Monitoring Claims and injuries alleged to be
                                                                             caused by use of the Recalled Devices.
                      C.      Objects that the Settlement does not hold      The Settlement does not preclude individual      § III.D.2, n.15.
                              Philips accountable.                           claims for economic loss and personal injury,
                                                                             and the Philips Defendants also have entered
                                                                             into a Court-approved settlement of the
                                                                             Economic Loss Claims and a proposed
                                                                             private settlement program for many Personal
                                                                             Injury claims.

39    Ekvall, Janet   B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                              to users of Recalled Devices, who may not      benefits to the Settlement Class as a whole
                              live 15 years to get the full benefit of the   and is a fair, reasonable and adequate
                              MAP.                                           compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.




                                                                     16
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 53 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                       Brief Citations
No.
40    Kinard, John     G.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.2b, n.22;
                       Q.      Respironics Recall, their personal economic       Economic Loss and Personal Injury Master         § III.D 6, n.30.
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.
                       B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.

41    Evans, Carolyn   I.      Objects to being included in the Settlement       Class Members are not required to take           § III.D.3, n.23.
                               since Objector is happy with the Recall           advantage of or use any of the MAP Benefits.
                               Program and believes that she hasn’t been
                               injured.
42    Everman, Joe     A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.            § III.D.1, n.13.

43    Baker, Jean      B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Faour                    direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.




                                                                         17
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 54 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                        Brief Citations
No.
                        R.      Objects based on misunderstanding that            Objection is based on a misunderstanding of      § III.D.6, n.31.
                                they are automatically enrolled in the MAP        the Settlement. Settlement Class Members
                                Registry.                                         can elect to participate in the MAP Registry. It
                                                                                  is optional and enrollment is not automatic.
                                                                                  Settlement Class Members’ medical
                                                                                  information will remain private unless they
                                                                                  affirmatively authorize its disclosure.

44    Fimrite, Andrew   A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.            § III.D.1, n.13.
      by Fimrite,
      Darla
45    Fisher, Marc      B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
                        F.      Objects that MAP Research funds will              There is no support for the objection;           § III.D.2a, n.21.
                                financially benefit the Philips Defendants.       Settlement Class Members are the
                                                                                  beneficiaries of the MAP Research program
                                                                                  designed to advance public knowledge
                                                                                  regarding the detection, diagnosis, and/or
                                                                                  treatment of the injuries alleged to have been
                                                                                  caused by use of the Recalled Devices. See
                                                                                  Bowling v.Pfizer, Inc., 143 F.R.D. 141, 166
                                                                                  (S.D. Ohio 1992).
                        P.      Objects to the request for attorneys’ fees        The Settlement provides significant equitable    § III.D.5, n.29.
                                because the Settlement Class is not               MAP Benefits to the Settlement Class.
                                receiving any monetary benefit.


                                                                          18
                            Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 55 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                 Response                        Brief Citations
No.
46    Flowers, James   Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.
                       H.      Objects to having any legal rights taken      Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                               away from him.                                appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.

47    Frantz, Mary     K.      Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                               for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.

48    Frazier, Kenya   L.      Conclusory objection to fees,                 Conclusory objection is insufficient.             § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.




                                                                      19
                             Case 2:21-mc-01230-JFC          Document 3055     Filed 12/05/24      Page 56 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.                Objection Description                                Response                       Brief Citations
No.
49    Froom, Abby      K.       Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.
50    Galvan, Mark     Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.
                       B.       Objects that if he gets sick in the future,   Settlement provides significant equitable        § III.D.2, n.14;
                       G.       Philips should be responsible for his         benefits to the Settlement Class as a whole      § III.D.2b, n.22.
                                declining health.                             and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation. Moreover, Settlement does not
                                                                              release Personal Injury Claims or individual
                                                                              claims for payment of medical monitoring
                                                                              expenses.
51    Gatliff, James A. Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.

                       A.       Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.




                                                                         20
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 57 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                        Brief Citations
No.
52    Gawronski,       H.      Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
      Rhonda                                                                     appropriate because Defendants acted or
                                                                                 refused to act in a way that is applicable to the
                                                                                 entire class, making equitable and/or
                                                                                 declaratory relief for the class as a whole
                                                                                 appropriate. Class certification does not
                                                                                 violate constitutional rights. Settlement Class
                                                                                 Members are not prejudiced because they can
                                                                                 still pursue individual claims for payment of
                                                                                 medical monitoring expenses.

53    Geckle, Junior   A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.             § III.D.1, n.13.

                       L.      Conclusory objection to fees,                     Conclusory objection is insufficient.             § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.
54    ProsseOr, Donna B.       Objects that there is not enough money in         Settlement provides significant equitable         § III.D.2, n.14.
                               the settlement fund.                              benefits to the Settlement Class as a whole
                                                                                 and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
55    Glowacki,        B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
      Joanne                   direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.



                                                                         21
                              Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 58 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector        Obj.               Objection Description                                    Response                        Brief Citations
No.
                         P.      Objects to amount of attorneys’ fees              The Settlement provides significant equitable     § III.D.5, n.29.
                                 because the Settlement Class is not               MAP Benefits to the Settlement Class.
                                 receiving any monetary benefit from the
                                 Settlement.
56    Godfrey, Brian     B.      Objects that there is little or no benefit to     Settlement provides significant equitable         § III.D.2, n.14.
                                 users of Recalled Devices.                        benefits to the Settlement Class as a whole
                                                                                   and is a fair, reasonable and adequate
                                                                                   compromise after weighing the substantial
                                                                                   expense, delay and risks of continued
                                                                                   litigation.
                         H.      Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                   appropriate because Defendants acted or
                                                                                   refused to act in a way that is applicable to the
                                                                                   entire class, making equitable and/or
                                                                                   declaratory relief for the class as a whole
                                                                                   appropriate. Class certification does not
                                                                                   violate constitutional rights. Settlement Class
                                                                                   Members are not prejudiced because they can
                                                                                   still pursue individual claims for payment of
                                                                                   medical monitoring expenses.

57    Goins, James       B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
      Roderick                   direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                 Devices.                                          and is a fair, reasonable and adequate
                                                                                   compromise after weighing the substantial
                                                                                   expense, delay and risks of continued
                                                                                   litigation.
58    Goldstein, Laura   A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.             § III.D.1, n.13.



                                                                           22
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 59 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                      Brief Citations
No.
                        I.      Objects because she does not want to be           Class Members are not required to take          § III.D.3, n.23.
                                part of Settlement.                               advantage of or use any of the MAP Benefits.
59    Gonzalez,         A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.           § III.D.1, n.13.
      Nicholas
                        L.      Conclusory objection to fees,                     Conclusory objection is insufficient.           § III.D.5, n.26.
                                reimbursement of expenses and/or service
                                awards.
60    Goodrich, John    A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.           § III.D.1, n.13.
      T.
61    Grassi, Richard   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable       § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
62    Gruber, Dana M. K.        Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                                for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                                  Settlement Fund after Final Approval;
                                                                                  Settlement Class Members will not be
                                                                                  responsible to pay those fees, expenses or
                                                                                  service awards.
63    Harlston,         A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.           § III.D.1, n.13.
      Michael
64    Harris, Pete      A.      Conclusory objection to Settlement.               Conclusory objection is insufficient.           § III.D.1, n.13.

                        I.      Objects because he does not want to be part       Class Members are not required to take          § III.D.3, n.23.
                                of Settlement.                                    advantage of or use any of the MAP Benefits.


                                                                          23
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 60 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                       Brief Citations
No.
65    Harrison,        B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Henrietta                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                       P.      Objects to attorneys’ fees because the            The Settlement provides significant equitable    § III.D.5, n.29.
                               Settlement Class is not receiving any             MAP Benefits to the Settlement Class.
                               monetary benefit from the Settlement.
66    Hensley,         G.      Objects that the Settlement is insufficient       Settlement is separate from the Recall and the   § III.D.2b, n.22;
      Melinda Lou      Q.      because it does not compensate for personal       Economic Loss and Personal Injury Master         § III.D.6, n.30.
                               injuries or medical expenses and/or is based      Settlements. Settlement explicitly preserves
                               on confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.

67    Zellner, Doris   K.      Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                                 Settlement Fund after Final Approval;
                                                                                 Settlement Class Members will not be
                                                                                 responsible to pay those fees, expenses or
                                                                                 service awards.

68    Hewitt, Mark     B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.



                                                                         24
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 61 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                       Brief Citations
No.
69    Callahan, Ada    B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14;
                       G.      to users of Recalled Devices and she has       benefits to the Settlement Class as a whole      § III.D.2b, n.22.
                               suffered personal injuries.                    and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation and Personal Injury Claims are
                                                                              expressly preserved.
                       Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
70    Holmes,          A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Marshall
71    Hooper, Bryant   K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.
72    Hovey, Robert    B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.




                                                                     25
                              Case 2:21-mc-01230-JFC         Document 3055        Filed 12/05/24      Page 62 of 126

                          AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector        Obj.              Objection Description                                   Response                       Brief Citations
No.
                         G.      Objects that the Settlement is insufficient     Settlement does not release Personal Injury      § III.D.2b, n.22.
                                 because it does not compensate for personal     Claims or individual claims for payment of
                                 injuries.                                       medical monitoring expenses.

73    Howard, James      A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.

74    Ingram, Erik       A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.

75    Ipsen, Jody        G.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.2b, n.22;
                         Q.      Respironics Recall, their personal economic     Economic Loss and Personal Injury Master         § III.D.6, n.30.
                                 losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements       Personal Injury Claims and individual claims
                                 (EL/PI).                                        for payment of medical monitoring expenses.

76    Iseminger,         B.      Objects that there is no direct compensation    Settlement provides significant equitable        § III.D.2, n.14.
      David                      to users of Recalled Devices.                   benefits to the Settlement Class as a whole
                                                                                 and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
77    Jackson,           A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.
      Meredith
78    Jagannath,         A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.
      Sitaraman
79    Jagdatt, Felicia   I.      Objects that she does not want to participate   Class Members are not required to take           § III.D.3, n.23.
                                 in this action as she was not harmed.           advantage of or use any of the MAP Benefits.

80    Jimenez, Eileen,   A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.
      Manuel


                                                                        26
                             Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 63 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                  Response                       Brief Citations
No.
81    Behar, Yasek      B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                                to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
82    Johnson, Margie   I.      Objects because she does not want to           Settlement Class Members are not required to     § III.D.3, n.23.
                                participate in Settlement.                     take advantage of or use MAP Benefits.
83    Junker, Patrick   B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                                to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

84    Keaton, Chris     Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements      Personal Injury Claims and individual claims
                                (EL/PI).                                       for payment of medical monitoring expenses.
85    Keeler, Ben       B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                                to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.




                                                                       27
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 64 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                       Brief Citations
No.
                       P.      Objects to attorneys’ fees because the         The Settlement provides significant equitable    § III.D.5, n.29.
                               Settlement Class is not receiving any          MAP Benefits to the Settlement Class.
                               monetary benefit from the Settlement.
86    Kelley, Austin   A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

87    Kidd, Ronald     B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14;
                       G.      to users of Recalled Devices.                  benefits to the Settlement Class as a whole      § III.D.2b, n.22
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation. Moreover, Settlement does not
                                                                              release Personal Injury Claims or individual
                                                                              claims for payment of medical monitoring
                                                                              expenses.
                       Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
88    Kirkland,        B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
      Wayne            P.      to users of Recalled Devices; objects to       benefits to the Settlement Class as a whole      § III.D.5, n.29.
                               attorneys’ fees until the Settlement Class     and is a fair, reasonable and adequate
                               receives compensation.                         compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

89    Klein, Tamara    A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      and Klein,
      Michael

                                                                        28
                            Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 65 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                        Brief Citations
No.
90    Kniery, Dennis   B.      Objects that there is no direct compensation   Settlement provides significant equitable         § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.
                       Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
91    Knight, Brenda   I.      Objects because she does not want to           Settlement Class Members are not required to      § III.D.3, n.23.
                               participate in the Settlement.                 take advantage of or use MAP Benefits.
                       K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.
92    Korte, Rebecca   H.      Objects to not being able to opt out.          Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                              appropriate because Defendants acted or
                                                                              refused to act in a way that is applicable to the
                                                                              entire class, making equitable and/or
                                                                              declaratory relief for the class as a whole
                                                                              appropriate. Class certification does not
                                                                              violate constitutional rights. Settlement Class
                                                                              Members are not prejudiced because they can



                                                                       29
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 66 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                        Brief Citations
No.
                                                                              still pursue individual claims for payment of
                                                                              medical monitoring expenses.
                       K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.
                       R.      Objects based on misunderstanding that         Objection is based on a misunderstanding of      § III.D.6, n.31.
                               they are automatically enrolled in the MAP     the Settlement. Settlement Class Members
                               Registry.                                      can elect to participate in the MAP Registry. It
                                                                              is optional and enrollment is not automatic.
                                                                              Settlement Class Members’ medical
                                                                              information will remain private unless they
                                                                              affirmatively authorize its disclosure.

93    Kouliev, M.D.,   B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
      Timur                    to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.




                                                                     30
                            Case 2:21-mc-01230-JFC         Document 3055      Filed 12/05/24      Page 67 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                 Response                        Brief Citations
No.
                       H.      Objects to not being able to opt out.         Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                             appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.

                       J.      Objects that the process for objecting is     The objection process was the same as in the      § III.D.4, n.24.
                               unclear.                                      Economic Loss Settlement, and Settlement
                                                                             Class Members were able to contact the
                                                                             Settlement Administrator and Settlement
                                                                             Class Counsel via the Settlement Website for
                                                                             more information. The Notice, Settlement
                                                                             Website, and direct outreach to objectors
                                                                             satisfied due process

94    Lackey, Betty    G.      Objects that the Settlement is insufficient   Settlement does not release Personal Injury       § III.D.2b, n.22.
                               because it does not compensate for personal   Claims or individual claims for payment of
                               injuries.                                     medical monitoring expenses.
95    Bell, Margaret   Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.




                                                                       31
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 68 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                        Brief Citations
No.
96    Lambert, John     Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.

97    Lane, Doug        Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.
                        B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices                                           and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
98    Kramer Resides,   Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
      Pauline                   Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.

99    Gbruoski, Paula   R.      Objects based on misunderstanding that            Objection is based on a misunderstanding of      § III.D.6, n.31.
                                they are automatically enrolled in the MAP        the Settlement. Settlement Class Members
                                Registry.                                         can elect to participate in the MAP Registry. It
                                                                                  is optional and enrollment is not automatic.
                                                                                  Settlement Class Members’ medical
                                                                                  information will remain private unless they
                                                                                  affirmatively authorize its disclosure.

                                                                          32
                           Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 69 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.               Objection Description                                    Response                       Brief Citations
No.
                      B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                              direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                              Devices                                           and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.
100   Calloway,       K.      Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
      Tammy                   for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                                Settlement Fund after Final Approval;
                                                                                Settlement Class Members will not be
                                                                                responsible to pay those fees, expenses or
                                                                                service awards.
101   Lawman, Sarah   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14
                              direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                              Devices; there is not enough money in the         and is a fair, reasonable and adequate
                              Settlement Fund; and the attorneys are not        compromise after weighing the substantial
                              representing the best interest of the clients     expense, delay and risks of continued
                              because the amount is so small per Class          litigation.
                              Member.

                      Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.5, n.30.
                              Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements         Personal Injury Claims and individual claims
                              (EL/PI).                                          for payment of medical monitoring expenses.




                                                                        33
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 70 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                      Brief Citations
No.
102   Haueter, Larry   B.      Objects that there is no direct compensation   Settlement provides significant equitable       § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.
103   Lencke, John     A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.           § III.D.1, n.13.

104   Lopez, LeAnna    A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.           § III.D.1, n.13.
      Lynn
105   Malone, Sherry   B.      Objects that there is no direct compensation   Settlement provides significant equitable       § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

106   Massey, Edna     K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

107   Howser, David    K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

                                                                     34
                             Case 2:21-mc-01230-JFC         Document 3055        Filed 12/05/24      Page 71 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                   Response                        Brief Citations
No.
                        I.      Objects to being included in litigation.        Settlement Class Members are not required to      § III.D.3, n.23.
                                                                                take advantage of or use MAP Benefits.
108   Johnson, Mark     T.      Objects based on confusion that he does         Settlement is separate from the Recall and the    § III.D.6, n.30.
                                “not hav[e] the specified machine listed in     Economic Loss and Personal Injury Master
                                the lawsuit” even though the Serial Number      Settlements. Settlement explicitly preserves
                                of his device is a Recalled Device.             Personal Injury Claims and individual claims
                                                                                for payment of medical monitoring expenses.
109   McClure, Styric   Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the    § III.D.6, n.30.
                                Respironics Recall, their personal economic     Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements       Personal Injury Claims and individual claims
                                (EL/PI).                                        for payment of medical monitoring expenses.
110   McCord,        L.         Conclusory objection to fees,                   Conclusory objection is insufficient.             § III.D.5, n.26.
      Patricia for              reimbursement of expenses and/or service
      herself and               awards.
      McCord, Samuel
      (deceased)
111   McCormick,     A.         Conclusory objection to Settlement.             Conclusory objection is insufficient.             § III.D.1, n.13.
      Cynthia and
      John
112   McDonald,      H.         Objects to not being able to opt out.           Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
      Janice                                                                    appropriate because Defendants acted or
                                                                                refused to act in a way that is applicable to the
                                                                                entire class, making equitable and/or
                                                                                declaratory relief for the class as a whole
                                                                                appropriate. Class certification does not
                                                                                violate constitutional rights. Settlement Class
                                                                                Members are not prejudiced because they can


                                                                           35
                           Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 72 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.               Objection Description                                    Response                       Brief Citations
No.
                                                                                still pursue individual claims for payment of
                                                                                medical monitoring expenses.

113   McGavock,       B.      Objects that there is no direct compensation      Settlement provides significant equitable        § III.D.2, n.14.
      Darnell, Sr.            to users of Recalled Devices.                     benefits to the Settlement Class as a whole
                                                                                and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.

114   McGehee, John   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                              direct compensation to Users of Recalled          benefits to the Settlement Class as a whole
                              Devices.                                          and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.

                      Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements         Personal Injury Claims and individual claims
                              (EL/PI).                                          for payment of medical monitoring expenses.
                      M.      Objects to attorneys’ fees for 5 Settlement       Objection ignores the detailed information in    § III.D.5, n.27.
                              Class Counsel as excessive.                       the Fee Motion and Fee Brief regarding the
                                                                                common benefit efforts to litigate the Medical
                                                                                Monitoring Claims; conclusory and
                                                                                unsubstantiated objection to the request for
                                                                                attorneys’ fees, reimbursement of costs, or
                                                                                service awards is insufficient.



                                                                        36
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 73 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                       Brief Citations
No.
115   McGrier,         B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
      Rasheen                  to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.
                       G.      Objects that the Settlement is insufficient    Settlement is separate from the Recall and the   § III.D.2b, n.22;
                       Q.      because it does not compensate for financial   Economic Loss and Personal Injury Master         § III.D.6, n.30.
                               loss/medical expenses; objection is based on   Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
116   McLevich, Joe    A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

117   Mellace, Maria   A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

                       L.      Conclusory objection to fees,                  Conclusory objection is insufficient.            § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.
118   Moyer, Daniel    K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees going into the future.     awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.




                                                                     37
                             Case 2:21-mc-01230-JFC         Document 3055     Filed 12/05/24      Page 74 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                Response                        Brief Citations
No.
119   Wilson,           K.      Objects to being individually responsible    Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
      Bridgette                 for attorneys’ fees.                         awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.
120   Nau, Bill         H.      Objects to not being able to opt out.        Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                             appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.
                        U.      Objects that firms representing him did so   Conclusory objection is insufficient.             § III.D.5, n.26.
                                without his consent and therefore, he does
                                not want them to receive fees.
121   Nelson, Gregory   Q.      Objects based on confusion regarding the     Settlement is separate from the Recall and the    § III.D.6, n.30.
                                other settlements (EL/PI).                   Economic Loss and Personal Injury Master
                                                                             Settlements. Settlement explicitly preserves
                                                                             Personal Injury Claims and individual claims
                                                                             for payment of medical monitoring expenses.
122   Nereson, Heidi    A.      Conclusory objection to Settlement.          Conclusory objection is insufficient.             § III.D.1, n.13.




                                                                        38
                           Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 75 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.               Objection Description                                    Response                        Brief Citations
No.
                      J.      Objects regarding the objection process.          The objection process was the same as in the      § III.D.4, n.24.
                                                                                Economic Loss Settlement, and Settlement
                                                                                Class Members were able to contact the
                                                                                Settlement Administrator and Settlement
                                                                                Class Counsel via the Settlement Website for
                                                                                more information. The Notice, Settlement
                                                                                Website, and direct outreach to objectors
                                                                                satisfied due process.
                      Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the    § III.D.6, n.30.
                              Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements         Personal Injury Claims and individual claims
                              (EL/PI).                                          for payment of medical monitoring expenses.
123   Niehans, Tish   B.      Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                              direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                              Devices.                                          and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.

                      E.      Objects that the MAP settlement                   Objection ignores the multiple provisions and     § III.D.2a, n.18.
                              administrators and researchers are not likely     safeguards in the Settlement Agreement to
                              “independent.”                                    ensure the MAP Research is independent and
                                                                                beneficial and that the grant selection, award
                                                                                process, and results are transparent, including
                                                                                through ongoing judicial oversight.




                                                                        39
                           Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 76 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                  Response                       Brief Citations
No.
                     N.       Objects that attorneys’ fees should be based   Objection ignores the evidence in the Fee        § III.D.5, n.28.
                              on lodestar.                                   Motion and Fee Brief that the requested fee is
                                                                             substantially less than the lodestar value of
                                                                             time spent litigating Medical Monitoring
                                                                             Claims.

124   O’Hallaron,    A.       Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Jeffrey
                     J.       Objects regarding the objection process.       The objection process was the same as in the     § III.D.4, n.24.
                                                                             Economic Loss Settlement, and Settlement
                                                                             Class Members were able to contact the
                                                                             Settlement Administrator and Settlement
                                                                             Class Counsel via the Settlement Website for
                                                                             more information. The Notice, Settlement
                                                                             Website, and direct outreach to objectors
                                                                             satisfied due process.
125   Olesky, John   A.       Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

126   Mardjonovic,    A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Paul
127   Olmstead, Renee B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                              to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.




                                                                     40
                           Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 77 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                  Response                       Brief Citations
No.
                      G.      Objects that the Settlement is insufficient    Settlement is separate from the Recall and the   § III.D.2b, n.22;
                      Q.      because it does not compensate for financial   Economic Loss and Personal Injury Master         § III.D.6, n.30.
                              loss/medical expenses; objection is based on   Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements      Personal Injury Claims and individual claims
                              (EL/PI).                                       for payment of medical monitoring expenses.
                      C.      Objects that the Settlement does not hold      The Settlement does not preclude individual      § III.D.2, n.15.
                              Philips accountable.                           claims for economic loss and personal injury,
                                                                             and the Philips Defendants also have entered
                                                                             into a Court-approved settlement of the
                                                                             Economic Loss Claims and a proposed
                                                                             private settlement program for many Personal
                                                                             Injury claims.
128   Olson, Bev      K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                              for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.

129   Palmer, Jake    Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements      Personal Injury Claims and individual claims
                              (EL/PI).                                       for payment of medical monitoring expenses.
130   West, Derrick   A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
                      I.      Does not want to be part of Settlement.        Settlement Class Members are not required to     § III.D.3, n.23.
                                                                             take advantage of or use MAP Benefits.



                                                                    41
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 78 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                     Brief Citations
No.
131   Parker, Paul     B.      Objects that there is little or no benefit to   Settlement provides significant equitable      § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
                       G.      Objects that “the settlement does not protect   Settlement does not release Personal Injury    § III.D.2b, n.22.
                               him in the event that there are future          Claims or individual claims for payment of
                               problems.”                                      medical monitoring expenses.

                       I.      Objects because he does not want to             Settlement Class Members are not required to   § III.D.3, n.23.
                               participate in the Settlement.                  take advantage of or use MAP Benefits.
132   Perkins, Casey   G.      Objects based on health problems and/or         Settlement does not release Personal Injury    § III.D.2b, n.22.
                               confusion regarding the other settlements       Claims or individual claims for payment of
                               (EL/PI).                                        medical monitoring expenses.
133   Martinez,        B.      Objects that there is little or no benefit to   Settlement provides significant equitable      § III.D.2, n.14.
      Orlando                  users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.




                                                                         42
                      Case 2:21-mc-01230-JFC        Document 3055      Filed 12/05/24      Page 79 of 126

                  AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
      Objector   Obj.              Objection Description                                Response                        Brief Citations
No.
                 H.      Objects to not being able to opt out and     Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                         waiving future legal rights.                 appropriate because Defendants acted or
                                                                      refused to act in a way that is applicable to the
                                                                      entire class, making equitable and/or
                                                                      declaratory relief for the class as a whole
                                                                      appropriate. Class certification does not
                                                                      violate constitutional rights. Settlement Class
                                                                      Members are not prejudiced because they can
                                                                      still pursue individual claims for payment of
                                                                      medical monitoring expenses.

                 J.      Objects regarding the objection process.     The objection process was the same as in the      § III.D.4, n.24.
                                                                      Economic Loss Settlement, and Settlement
                                                                      Class Members were able to contact the
                                                                      Settlement Administrator and Settlement
                                                                      Class Counsel via the Settlement Website for
                                                                      more information. The Notice, Settlement
                                                                      Website, and direct outreach to objectors
                                                                      satisfied due process.
                 R.      Objects based on misunderstanding that       Objection is based on a misunderstanding of      § III.D.6, n.31.
                         they are automatically enrolled in the MAP   the Settlement. Settlement Class Members
                         Registry.                                    can elect to participate in the MAP Registry. It
                                                                      is optional and enrollment is not automatic.
                                                                      Settlement Class Members’ medical
                                                                      information will remain private unless they
                                                                      affirmatively authorize its disclosure.




                                                                43
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 80 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                        Brief Citations
No.
134   Pitman, Sharon   B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
                       K.      Objects to being individually responsible       Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                            awarded by the Court will be paid from the
                                                                               Settlement Fund after Final Approval;
                                                                               Settlement Class Members will not be
                                                                               responsible to pay those fees, expenses or
                                                                               service awards.
                       R.      Objects based on misunderstanding that          Objection is based on a misunderstanding of      § III.D.6, n.31.
                               they are automatically enrolled in the MAP      the Settlement. Settlement Class Members
                               Registry.                                       can elect to participate in the MAP Registry. It
                                                                               is optional and enrollment is not automatic.
                                                                               Settlement Class Members’ medical
                                                                               information will remain private unless they
                                                                               affirmatively authorize its disclosure.
135   Pucino-          Q.      Objects based on confusion, stating she         Settlement Class Members are not required to     § III.D.6, n.30.
      Chambliss,               never had any side effects while using her      take advantage of or use MAP Benefits.
      Anna                     Recalled Device.                                Settlement is separate from the Recall and the
                                                                               Economic Loss and Personal Injury Master
                                                                               Settlements.

136   Reid, Scott      A.      Objects because he doesn’t understand the       Conclusory objection is insufficient.            § III.D.1, n.13.
                               Settlement.
137   Rinbolt, Keith   A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.


                                                                         44
                               Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 81 of 126

                          AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
          Objector        Obj.               Objection Description                                  Response                       Brief Citations
No.
138   Robison, Felicia    K.      Objects to being individually responsible       Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                  for attorneys’ fees.                            awarded by the Court will be paid from the
                                                                                  Settlement Fund after Final Approval;
                                                                                  Settlement Class Members will not be
                                                                                  responsible to pay those fees, expenses or
                                                                                  service awards.
139   Rossman,            Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
      Rodger                      Respironics Recall; their personal economic     Economic Loss and Personal Injury Master
                                  losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                  confusion regarding the other settlements       Personal Injury Claims and individual claims
                                  (EL/PI).                                        for payment of medical monitoring expenses.
140   Saari, Julie        Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
                                  Respironics Recall; their personal economic     Economic Loss and Personal Injury Master
                                  losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                  confusion regarding the other settlements       Personal Injury Claims and individual claims
                                  (EL/PI).                                        for payment of medical monitoring expenses.
141   Hamilton,           Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
      Michael                     Respironics Recall; their personal economic     Economic Loss and Personal Injury Master
                                  losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                                  confusion regarding the other settlements       Personal Injury Claims and individual claims
                                  (EL/PI).                                        for payment of medical monitoring expenses.
142   Scilzo, Christine   A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.            § III.D.1, n.13.

143   Sellentin,          B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
      Richard E.                  users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                                  and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial



                                                                            45
                            Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 82 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                        Brief Citations
No.
                                                                              expense, delay and risks of continued
                                                                              litigation.
144   Sensenig,        I.      Objector wants to opt-out because he has       Class Members are not required to take            § III.D.3, n.23.
      Anthony                  religious convictions against suing.           advantage of or use any of the MAP Benefits.
145   Shover,          A.      Conclusory objection to Settlement and         Conclusory objection is insufficient and          § III.D.1, n.13;
      Matthew          I.      objects to being included in the Settlement.   certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                              appropriate because Defendants acted or
                                                                              refused to act in a way that is applicable to the
                                                                              entire class, making equitable and/or
                                                                              declaratory relief for the class as a whole
                                                                              appropriate. Class certification does not
                                                                              violate constitutional rights. Settlement Class
                                                                              Members are not prejudiced because they can
                                                                              still pursue individual claims for payment of
                                                                              medical monitoring expenses.

146   Orestad, James   B.      Objects that there is no direct compensation   Settlement provides significant equitable         § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

                       Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.



                                                                      46
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 83 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                       Brief Citations
No.
147   Snable, Scott    Q.      Objects based on frustration with Philips       Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall; their personal economic     Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or           Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements       Personal Injury Claims and individual claims
                               (EL/PI).                                        for payment of medical monitoring expenses.

148   Snower, Daniel   B.      Objects that there is little or no benefit to   Settlement provides significant equitable        § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
                       V.      Objects that he never gave anybody the          As contemplated by Fed. R. Civ. P. 23, the       § III.D.3, n.23.
                               right to negotiate on his behalf, can’t opt out Representative Plaintiffs and Settlement Class
                               and the Settlement waives his rights.           Counsel carried out their fiduciary duties to
                                                                               the Settlement Class. The negotiations were
                                                                               overseen by an experienced Court-appointed
                                                                               mediator, and the Court’s exercise of its
                                                                               fiduciary role further protect absent Class
                                                                               members.

149   Snuffer, Todd    B.      Objects that there is no direct compensation    Settlement provides significant equitable        § III.D.2, n.14.
                               to users of Recalled Devices.                   benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

150   Solis, Sharon    L.      Conclusory objection to fees,                   Conclusory objection is insufficient.            § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.

                                                                         47
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 84 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                      Brief Citations
No.
                       I.      Objects that she does not want to be part of    Class Members are not required to take          § III.D.3, n.23.
                               Settlement because she did not use her          advantage of or use any of the MAP Benefits.
                               Recalled Device.
151   Soto-González,   A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.           § III.D.1, n.13.
      Marla J.
                       L.      Conclusory objection to fees,                   Conclusory objection is insufficient.           § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.
152   Spiegel, William B.      Objects that there is little or no benefit to   Settlement provides significant equitable       § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

153   Sprague, Kathy   K.      Objects to being individually responsible       Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                               for attorneys’ fees.                            awarded by the Court will be paid from the
                                                                               Settlement Fund after Final Approval;
                                                                               Settlement Class Members will not be
                                                                               responsible to pay those fees, expenses or
                                                                               service awards.

154   Stark, Nina A.   I.      Objects because she does not want any of        Class Members are not required to take          § III.D.3, n.23.
                               the Settlement benefits; does not want to       advantage of or use any of the MAP Benefits.
                               participate in the Settlement.

155   Sutton, Scott    A.      Conclusory objection to Settlement.             Conclusory objection is insufficient.           § III.D.1, n.13.




                                                                         48
                            Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 85 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                        Brief Citations
No.
                       H.      Does not want to release any of his claims.     Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                               appropriate because Defendants acted or
                                                                               refused to act in a way that is applicable to the
                                                                               entire class, making equitable and/or
                                                                               declaratory relief for the class as a whole
                                                                               appropriate. Class certification does not
                                                                               violate constitutional rights. Settlement Class
                                                                               Members are not prejudiced because they can
                                                                               still pursue individual claims for payment of
                                                                               medical monitoring expenses.

156   Szasz, John S.   K.      Objects to being individually responsible       Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                               for attorneys’ fees.                            awarded by the Court will be paid from the
                                                                               Settlement Fund after Final Approval;
                                                                               Settlement Class Members will not be
                                                                               responsible to pay those fees, expenses or
                                                                               service awards.

157   Parker, James    B.      Objects that there is little or no benefit to   Settlement provides significant equitable         § III.D.2, n.14.
                               users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

                       I.      Does not want to be part of settlement.         Class Members are not required to take            § III.D.3, n.23.
                                                                               advantage of or use any of the MAP Benefits.




                                                                         49
                           Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 86 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.               Objection Description                                  Response                        Brief Citations
No.
158   Thomas, Heath   B.      Objects that there is little or no benefit to   Settlement provides significant equitable         § III.D.2, n.14.
                              users of Recalled Devices.                      benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

                      J.      Objects regarding the objection process.        The objection process was the same as in the      § III.D.4, n.24.
                                                                              Economic Loss Settlement, and Settlement
                                                                              Class Members were able to contact the
                                                                              Settlement Administrator and Settlement
                                                                              Class Counsel via the Settlement Website for
                                                                              more information. The Notice, Settlement
                                                                              Website, and direct outreach to objectors
                                                                              satisfied due process.
                      H.      Objects to not being able to opt out.           Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                              appropriate because Defendants acted or
                                                                              refused to act in a way that is applicable to the
                                                                              entire class, making equitable and/or
                                                                              declaratory relief for the class as a whole
                                                                              appropriate. Class certification does not
                                                                              violate constitutional rights. Settlement Class
                                                                              Members are not prejudiced because they can
                                                                              still pursue individual claims for payment of
                                                                              medical monitoring expenses.




                                                                        50
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24     Page 87 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                       Brief Citations
No.
                       P.      Objects to the request for attorneys’ fees    Settlement provides significant equitable         § III.D.5, n.29.
                               based on his disapproval of the Settlement    benefits to the Settlement Class.
                               and because the Settlement Class is not
                               receiving any monetary benefit.

159   Tombs, Jill      I.      Objector wants to opt-out because “[i]t is      Class Members are not required to take          § III.D.3, n.23.
                               against [her] beliefs to sue another in court.” advantage of or use any of the MAP Benefits.
160   Toronzi, Rob     A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.             § III.D.1, n.13.

                       I.      Objects because he does not want to be part   Class Members are not required to take            § III.D.3, n.23.
                               of Settlement.                                advantage of or use any of the MAP Benefits.
161   Trautman, Fred   A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.             § III.D.1, n.13.

162   Trein, Marcelo   H.      Objects to being included in Settlement.      Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                             appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.




                                                                     51
                             Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 88 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                  Response                       Brief Citations
No.
                        J.      Objects to objection process.                  The objection process was the same as in the     § III.D.4, n.24.
                                                                               Economic Loss Settlement, and Settlement
                                                                               Class Members were able to contact the
                                                                               Settlement Administrator and Settlement
                                                                               Class Counsel via the Settlement Website for
                                                                               more information. The Notice, Settlement
                                                                               Website, and direct outreach to objectors
                                                                               satisfied due process.
163   Tschai, Dan       B.      Objects that the Settlement does not provide   Settlement provides significant equitable        § III.D.2, n.14.
                                sufficient benefits.                           benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the risks, costs,
                                                                               and delay of continued litigation.
164   Parnell, Connie   Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements      Personal Injury Claims and individual claims
                                (EL/PI).                                       for payment of medical monitoring expenses.
                        C.      Objects that the Settlement does not           The Settlement does not preclude individual      § III.D.2., n.15.
                                adequately punish the Philips Defendants or    claims for economic loss and personal injury,
                                at least hold them accountable.                and the Philips Defendants also have entered
                                                                               into a Court-approved settlement of the
                                                                               Economic Loss Claims and a proposed
                                                                               private settlement program for many Personal
                                                                               Injury claims.




                                                                      52
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 89 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                      Brief Citations
No.
165   Verret, Kerry     B.      Objects that there is no direct compensation      Settlement provides significant equitable       § III.D.2, n.14.
                                to users of Recalled Devices.                     benefits to the Settlement Class as a whole
                                                                                  and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
                        P.      Objects to attorneys’ fees because the            Settlement provides significant equitable       § III.D.5, n.29.
                                Settlement Class is getting no monetary           benefits to the Settlement Class.
                                compensation.
166   Watson, Jennifer B.       Objects that there is little or no benefit / no   Settlement provides significant equitable       § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
167   Wade, Frederick   B.      Objects that there is little or no benefit to     Settlement provides significant equitable       § III.D.2, n.14.
                                users of Recalled Devices.                        benefits to the Settlement Class as a whole
                                                                                  and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.
                        C.      Settlement should not be a substitute for         The Settlement does not preclude individual     § III.D.2a, n.15.
                                punitive damages.                                 claims for economic loss and personal injury,
                                                                                  and the Philips Defendants also have entered
                                                                                  into a Court-approved settlement of the
                                                                                  Economic Loss Claims and a proposed
                                                                                  private settlement program for many Personal
                                                                                  Injury claims.


                                                                          53
                             Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 90 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                 Response                       Brief Citations
No.

                        Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.5, n.30.
                                Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.

                        P.      Objects to the request for attorneys’ fees    Settlement provides significant equitable        § III.D.5, n.29.
                                when the Settlement Class is not receiving    benefits to the Settlement Class.
                                any monetary benefit from the Settlement.
168   Wagaman,          A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.
      James
                        K.      Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.


169   Walker, Michael   A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.

                        L.      Conclusory objection to fees,                 Conclusory objection is insufficient.            § III.D.5, n.26.
                                reimbursement of expenses and/or service
                                awards.




                                                                      54
                           Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 91 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                  Response                      Brief Citations
No.
170   Walker, Zack    B.      Objects that there is no direct compensation   Settlement provides significant equitable       § III.D.2, n.14.
                              to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.

171   Walton, Bobby   A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.           § III.D.1, n.13.

172   Wansley, Josh   K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards   § III.D.5, n.25.
                              for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.
173   Warren, Barb    B.      Objects that there is no direct compensation   Settlement provides significant equitable       § III.D.2, n.14.
                              to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.




                                                                    55
                            Case 2:21-mc-01230-JFC         Document 3055      Filed 12/05/24      Page 92 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                 Response                       Brief Citations
No.
                       F.      Objects that MAP Research funds will          There is no support for the objection;           § III.D.2a, n.21.
                               financially benefit the Philips Defendants.   Settlement Class Members are the
                                                                             beneficiaries of the MAP Research program
                                                                             designed to advance public knowledge
                                                                             regarding the detection, diagnosis, and/or
                                                                             treatment of the injuries alleged to have been
                                                                             caused by use of the Recalled Devices. See
                                                                             Bowling v. Pfizer, Inc., 143 F.R.D. 141, 166
                                                                             (S.D. Ohio 1992).

174   Watson, James    A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.

175   Schofer, Mayer   C.      Objects that the Settlement does not          The Settlement does not preclude individual      § III.D.2a, n.15.
                               adequately punish the Philips Defendants or   claims for economic loss and personal injury,
                               hold them accountable.                        and the Philips Defendants also have entered
                                                                             into a Court-approved settlement of the
                                                                             Economic Loss Claims and a proposed
                                                                             private settlement program for many Personal
                                                                             Injury claims.

                       G.      Objects that the Settlement is not            Settlement does not release Personal Injury      § III.D.2b, n.22.
                               compensating for medical monitoring.          Claims or individual claims for payment of
                                                                             medical monitoring expenses.
176   Wheeler, Shirley A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.




                                                                      56
                           Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 93 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                  Response                       Brief Citations
No.
                      K.      Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                              for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.
177   White, Justin   B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                              to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.
178   Wimberly,       B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
      Dolores                 to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.
                      F.      Objects that MAP Research funds will           There is no support for the objection;           § III.D.2a, n.21.
                              benefit the Philips Defendants.                Settlement Class Members are the
                                                                             beneficiaries of the MAP Research program
                                                                             designed to advance public knowledge
                                                                             regarding the detection, diagnosis, and/or
                                                                             treatment of the injuries alleged to have been
                                                                             caused by use of the Recalled Devices. See
                                                                             Bowling v. Pfizer, Inc., 143 F.R.D. 141, 166
                                                                             (S.D. Ohio 1992).



                                                                     57
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 94 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                  Response                       Brief Citations
No.
                       G.      Objects that the Settlement is insufficient    Settlement does not release Personal Injury      § III.D.2b, n.22.
                               because it does not compensate for personal    Claims or individual claims for payment of
                               injuries or medical expenses.                  medical monitoring expenses.
179   Wooten, Shelly   A.      Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

180   Worden,          Q.      Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
      Michael                  Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
181   Carson, Tracey   L.      Conclusory objection to fees,                  Conclusory objection is insufficient.            § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.

182   Wynn, W. J.      Q.      Objects because of concern with possible       Settlement is separate from the Recall and the   § III.D.6, n.30.
                               future health conditions and costs.            Economic Loss and Personal Injury Master
                                                                              Settlements. Settlement explicitly preserves
                                                                              Personal Injury Claims and individual claims
                                                                              for payment of medical monitoring expenses.
183   Young, Gregory   B.      Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
      S.                       to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.




                                                                     58
                            Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 95 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                    Response                       Brief Citations
No.
184   Jenkins, Randy   B.      Objects that there is no direct compensation      Settlement provides significant equitable        § III.D.2, n.14.
                               to users of Recalled Devices.                     benefits to the Settlement Class as a whole
                                                                                 and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                       Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.

185   Kramer, Harry    Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.
                       L.      Conclusory objection to fees,                     Conclusory objection is insufficient.            § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.

186   Minkley,         B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Dolores                  direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.




                                                                         59
                             Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24      Page 96 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                  Response                        Brief Citations
No.
                        G.      Objects based on frustration with Philips      Settlement is separate from the Recall and the    § III.D.2b, n.22;
                        Q.      Respironics Recall, their personal economic    Economic Loss and Personal Injury Master          § III.D.6, n.30
                                losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements      Personal Injury Claims and individual claims
                                (EL/PI).                                       for payment of medical monitoring expenses.
                        P.      Objects to attorneys’ fees because the         Settlement provides significant equitable         § III.D.5, n.29.
                                Settlement Class is getting no monetary        benefits to the Settlement Class.
                                compensation.
187   Worley-Jenkins,   B.      Objects that there is no direct compensation   Settlement provides significant equitable         § III.D.2, n.14.
      Susie                     to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

                        G.      Objects based on frustration with Philips      Settlement does not release Personal Injury       § III.D.2b, n.22;
                        Q.      Respironics Recall; their personal economic    Claims or individual claims for payment of        § III.D.6, n.30.
                                losses and/or health problems; and/or          medical monitoring expenses.
                                confusion regarding the other settlements
                                (EL/PI).
188   Griswold, Bill    E.      Objects to the MAP Research (questions the     Objection ignores the multiple provisions and     § III.D.2a, n.18.
                                purpose, goals, qualifications of the          safeguards in the Settlement Agreement to
                                researchers, and supervision).                 ensure the MAP Research is independent and
                                                                               beneficial and that the grant selection, award
                                                                               process, and results are transparent, including
                                                                               through ongoing judicial oversight.

                        Z.      Objection suggests alternative purposes for    Objection ignores that purpose of MAP             § III.D.2a, n.20.
                                the MAP Research.                              Research is closely related to the Medical

                                                                      60
                             Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 97 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                 Response                       Brief Citations
No.
                                                                              Monitoring Claims and injuries alleged to be
                                                                              caused by use of the Recalled Devices.
                        Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.

                        G.      Objects that no medical monitoring is         Settlement does not release Personal Injury      § III.D.2b, n.22.
                                provided for in the Settlement.               Claims or individual claims for payment of
                                                                              medical monitoring expenses.
                        W.      Objects that Settlement Class Counsel did     As contemplated by Fed. R. Civ. P. 23,           § III.C.
                                not provide assistance to him with his        Settlement Class Counsel carried out their
                                objection.                                    fiduciary duties to the Settlement Class. They
                                                                              reached the proposed Settlement based on a
                                                                              thorough understanding of the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation and they support the Settlement.

189   Salerno, Joseph   G.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.2b, n.22;
                        Q.      Respironics Recall, their personal economic   Economic Loss and Personal Injury Master         § III.D.6, n.30.
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.




                                                                        61
                             Case 2:21-mc-01230-JFC           Document 3055        Filed 12/05/24      Page 98 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                    Response                        Brief Citations
No.
190   Schreiber,        R.      Objects based on misunderstanding that            Objection is based on a misunderstanding of      § III.D.6, n.31.
      Brenda                    they are automatically enrolled in the MAP        the Settlement. Settlement Class Members
                                Registry.                                         can elect to participate in the MAP Registry. It
                                                                                  is optional and enrollment is not automatic.
                                                                                  Settlement Class Members’ medical
                                                                                  information will remain private unless they
                                                                                  affirmatively authorize its disclosure.
191   Adams, Sharon     Q.      Objects to the Settlement because she is          Class Members are not required to take           § III.D.6, n.30.
      Darlene Durrant           happy with Philips Respironics’s handling         advantage of or use any of the MAP Benefits.
                                of the Recall.

192   Ayers, Donald     Q.      Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.
193   Jewell, Joseph    B.      Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.

                        G.      Objects that the Settlement is insufficient       Settlement does not release Personal Injury      § III.D.2b, n.22.
                                because it does not compensate for personal       Claims or individual claims for payment of
                                injuries or medical expenses.                     medical monitoring expenses.
                        P.      Objects to attorneys’ fees because                Settlement provides significant equitable        § III.D.5, n.29.
                                Settlement Class is not receiving any             benefits to the Settlement Class.
                                monetary benefit from the Settlement.

                                                                          62
                            Case 2:21-mc-01230-JFC        Document 3055       Filed 12/05/24      Page 99 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                 Response                       Brief Citations
No.
194   King, Chuck      Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.
195   McDonald,        A.      Conclusory objection to Settlement.           Conclusory objection is insufficient.            § III.D.1, n.13.
      Marie
                       L.      Conclusory objection to fees,                 Conclusory objection is insufficient.            § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.
196   Meier, Michael   G.      Objects that the Settlement does not fully    Settlement does not release Personal Injury      § III.D.2b, n.22.
                               consider the health impacts caused by the     Claims or individual claims for payment of
                               Recalled Devices.                             medical monitoring expenses.
                       Q.      Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.
                       J.      Objects that the objection process makes it   The objection process was the same as in the     § III.D.4, n.24.
                               difficult to submit documents.                Economic Loss Settlement, and Settlement
                                                                             Class Members were able to contact the
                                                                             Settlement Administrator and Settlement
                                                                             Class Counsel via the Settlement Website for
                                                                             more information. The Notice, Settlement
                                                                             Website, and direct outreach to objectors
                                                                             satisfied due process.




                                                                      63
                      Case 2:21-mc-01230-JFC          Document 3055         Filed 12/05/24      Page 100 of 126

                     AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector    Obj.             Objection Description                                  Response                        Brief Citations
No.
197   Park, Marsha   H.     Objects to being included in the Settlement    Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                            because she does not want to participate.      appropriate because Defendants acted or
                                                                           refused to act in a way that is applicable to the
                                                                           entire class, making equitable and/or
                                                                           declaratory relief for the class as a whole
                                                                           appropriate. Class certification does not
                                                                           violate constitutional rights. Settlement Class
                                                                           Members are not prejudiced because they can
                                                                           still pursue individual claims for payment of
                                                                           medical monitoring expenses.

                     K.     Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                            for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                           Settlement Fund after Final Approval;
                                                                           Settlement Class Members will not be
                                                                           responsible to pay those fees, expenses or
                                                                           service awards.
198   Pollard, Tom   B.     Objects that there is no direct compensation   Settlement provides significant equitable         § III.D.2, n.14.
                            to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                           and is a fair, reasonable and adequate
                                                                           compromise after weighing the substantial
                                                                           expense, delay and risks of continued
                                                                           litigation.
                     Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the    § III.D.6, n.30.
                            Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                            losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                            confusion regarding the other settlements      Personal Injury Claims and individual claims
                            (EL/PI).                                       for payment of medical monitoring expenses.




                                                                  64
                         Case 2:21-mc-01230-JFC          Document 3055         Filed 12/05/24     Page 101 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.             Objection Description                                  Response                       Brief Citations
No.
199   Bailey, Jesse     B.     Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.
                        G.     Objects that the Settlement is insufficient    Settlement does not release Personal Injury      § III.D.2b, n.22.
                               because it does not compensate for personal    Claims or individual claims for payment of
                               injuries or medical expenses.                  medical monitoring expenses.
200   Washington,       A.     Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Jivian
201   Sonail, Sharon    Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
202   Ubelhor, Martin   K.     Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

203   O’Connor,         B.     Objects that there is not enough money in      Settlement provides significant equitable        § III.D.2, n.14.
      Darrell           X.     the Settlement Fund and the MAP Benefits       benefits to the Settlement Class as a whole
                               should extend beyond 15 years.                 and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued


                                                                     65
                       Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 102 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.              Objection Description                                    Response                        Brief Citations
No.
                                                                               litigation; length of the MAP program was a
                                                                               reasonable negotiated term.

                      C.     Objects that the Settlement does not              The Settlement does not preclude individual       § III.D.2, n.15.
                             adequately punish the Philips Defendants or       claims for economic loss and personal injury,
                             hold them accountable.                            and the Philips Defendants also have entered
                                                                               into a Court-approved settlement of the
                                                                               Economic Loss Claims and a proposed
                                                                               private settlement program for many Personal
                                                                               Injury claims.
204   Coupel,         K.     Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
      Catherine              for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                               Settlement Fund after Final Approval;
                                                                               Settlement Class Members will not be
                                                                               responsible to pay those fees, expenses or
                                                                               service awards.

205   Drohan, Carol   B.     Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                             direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                             Devices.                                          and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.

                      E.     Objects that the MAP Research has no              Objection ignores the multiple provisions and     § III.D.2a, n.18.
                             accountability.                                   safeguards in the Settlement Agreement to
                                                                               ensure the MAP Research is independent and
                                                                               beneficial and that the grant selection, award
                                                                               process, and results are transparent, including
                                                                               through ongoing judicial oversight.


                                                                       66
                          Case 2:21-mc-01230-JFC        Document 3055         Filed 12/05/24     Page 103 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector    Obj.               Objection Description                                  Response                       Brief Citations
No.
                     Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements      Personal Injury Claims and individual claims
                              (EL/PI).                                       for payment of medical monitoring expenses.

206   Hanes, Laura   B.       Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                              to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.
                     K.       Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                              for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.
                     J.       Objects regarding the objection process.       The objection process was the same as in the     § III.D.4, n.24.
                                                                             Economic Loss Settlement, and Settlement
                                                                             Class Members were able to contact the
                                                                             Settlement Administrator and Settlement
                                                                             Class Counsel via the Settlement Website for
                                                                             more information. The Notice, Settlement
                                                                             Website, and direct outreach to objectors
                                                                             satisfied due process.




                                                                    67
                         Case 2:21-mc-01230-JFC          Document 3055        Filed 12/05/24     Page 104 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.             Objection Description                                 Response                       Brief Citations
No.
207   Martin, Phillip   B.     Objects that the Settlement provides          Settlement provides significant equitable        § III.D.2, n.14.
                               insufficient compensation.                    benefits to the Settlement Class as a whole
                                                                             and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.
208   Mills, Craig      Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.

                        C.     Objects that the Settlement does not          The Settlement does not preclude individual      § III.D.2, n.15.
                               adequately hold the Philips Defendants        claims for economic loss and personal injury,
                               accountable.                                  and the Philips Defendants also have entered
                                                                             into a Court-approved settlement of the
                                                                             Economic Loss Claims and a proposed
                                                                             private settlement program for many Personal
                                                                             Injury claims.

209   Rollins, Joan     Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements     Personal Injury Claims and individual claims
                               (EL/PI).                                      for payment of medical monitoring expenses.




                                                                      68
                        Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 105 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                    Response                       Brief Citations
No.
                       B.     Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                              direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                              Devices.                                          and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.
                       G.     Objects that the Settlement is insufficient       Settlement does not release Personal Injury      § III.D.2b, n.22.
                              because it does not compensate for personal       Claims or individual claims for payment of
                              injuries or medical expenses                      medical monitoring expenses.
210   Seamon, Peter    Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements         Personal Injury Claims and individual claims
                              (EL/PI).                                          for payment of medical monitoring expenses.
211   Stoysich-        L.     Conclusory objection to the percentage of         Conclusory objection is insufficient.            § III.D.5, n.26.
      Noordam,                attorneys’ fees.
      Margaret
212   Adams, Stephen   B.     Objects that the amount of the settlement         Settlement provides significant equitable        § III.D.2, n.14.
                              fund is not enough.                               benefits to the Settlement Class as a whole
                                                                                and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.
                       Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements         Personal Injury Claims and individual claims
                              (EL/PI).                                          for payment of medical monitoring expenses.

                                                                        69
                       Case 2:21-mc-01230-JFC           Document 3055      Filed 12/05/24      Page 106 of 126

                      AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector     Obj.             Objection Description                                Response                        Brief Citations
No.
                      U.     Objects to having lawyers chosen for him     Conclusory objection is insufficient.             § III.D.5, n.26.
                             and to the payment of any attorneys’ fees.
                      H.     Objects to not being able to opt out.        Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                          appropriate because Defendants acted or
                                                                          refused to act in a way that is applicable to the
                                                                          entire class, making equitable and/or
                                                                          declaratory relief for the class as a whole
                                                                          appropriate. Class certification does not
                                                                          violate constitutional rights. Settlement Class
                                                                          Members are not prejudiced because they can
                                                                          still pursue individual claims for payment of
                                                                          medical monitoring expenses.
213   Brown, Coleen   K.     Objects to being individually responsible    Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                             for attorneys’ fees.                         awarded by the Court will be paid from the
                                                                          Settlement Fund after Final Approval;
                                                                          Settlement Class Members will not be
                                                                          responsible to pay those fees, expenses or
                                                                          service awards.

214   Daugherty,      A.     Conclusory objection to Settlement.          Conclusory objection is insufficient.             § III.D.1, n.13.
      Susan
215   Loftis-Jones,   L.     Conclusory objection to fees,                Conclusory objection is insufficient.             § III.D.5, n.26.
      Ellison                reimbursement of expenses and/or service
                             awards.




                                                                     70
                        Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24      Page 107 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.              Objection Description                                    Response                        Brief Citations
No.
                       H.     Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                appropriate because Defendants acted or
                                                                                refused to act in a way that is applicable to the
                                                                                entire class, making equitable and/or
                                                                                declaratory relief for the class as a whole
                                                                                appropriate. Class certification does not
                                                                                violate constitutional rights. Settlement Class
                                                                                Members are not prejudiced because they can
                                                                                still pursue individual claims for payment of
                                                                                medical monitoring expenses.
216   Ward, Leshika    B.     Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                              direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                              Devices.                                          and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.
                       R.     Objects based on misunderstanding that            Objection is based on a misunderstanding of      § III.D.6, n.31.
                              they are automatically enrolled in the MAP        the Settlement. Settlement Class Members
                              Registry.                                         can elect to participate in the MAP Registry. It
                                                                                is optional and enrollment is not automatic.
                                                                                Settlement Class Members’ medical
                                                                                information will remain private unless they
                                                                                affirmatively authorize its disclosure.

217   DeWitt,          B.     Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
      Anthony L. and          direct compensation to users of Recalled          benefits to the Settlement Class as a whole
      Ginger J.               Devices.                                          and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.

                                                                        71
                  Case 2:21-mc-01230-JFC            Document 3055      Filed 12/05/24      Page 108 of 126

                 AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
      Objector   Obj.              Objection Description                                Response                        Brief Citations
No.
                 B.     Objects that there is no medical monitoring   Settlement provides significant equitable         § III.D.2, n.14.
                        testing program established by the            benefits to the Settlement Class as a whole
                        Settlement.                                   and is a fair, reasonable and adequate
                                                                      compromise after weighing the substantial
                                                                      expense, delay and risks of continued
                                                                      litigation.
                 E.     Objects that the MAP Research is too vague    Objection ignores the multiple provisions and     § III.D.2a, n.18.
                        and lacks oversight and to the manner in      safeguards in the Settlement Agreement to
                        which the MAP Research is disseminated to     ensure the MAP Research is independent and
                        Class Members.                                beneficial and that the grant selection, award
                                                                      process, and results are transparent, including
                                                                      through ongoing judicial oversight.
                 H.     Objects to not being able to opt out.         Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                      appropriate because Defendants acted or
                                                                      refused to act in a way that is applicable to the
                                                                      entire class, making equitable and/or
                                                                      declaratory relief for the class as a whole
                                                                      appropriate. Class certification does not
                                                                      violate constitutional rights. Settlement Class
                                                                      Members are not prejudiced because they can
                                                                      still pursue individual claims for payment of
                                                                      medical monitoring expenses.

                 D.     Objects to the release of his class claims.   Objection ignores the significant risks of     § III.D.2, n.16.
                                                                      obtaining class certification even in states
                                                                      where the law on medical monitoring
                                                                      supports Plaintiffs’ allegations. Individual
                                                                      issues such as exposure to alleged foam toxins
                                                                      and unique medical circumstances, among


                                                                72
                             Case 2:21-mc-01230-JFC        Document 3055         Filed 12/05/24      Page 109 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                   Response                      Brief Citations
No.
                                                                                others, present substantial hurdles to class
                                                                                certification.
                        J.       Objects that the procedure for objecting was   The objection process was the same as in the     § III.D.4, n.24.
                                 not clear.                                     Economic Loss Settlement, and Settlement
                                                                                Class Members were able to contact the
                                                                                Settlement Administrator and Settlement
                                                                                Class Counsel via the Settlement Website for
                                                                                more information. The Notice, Settlement
                                                                                Website, and direct outreach to objectors
                                                                                satisfied due process.

218   Ecklund, Peter    Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                 Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements      Personal Injury Claims and individual claims
                                 (EL/PI).                                       for payment of medical monitoring expenses.
219   Dobson, Ricky     Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                 Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements      Personal Injury Claims and individual claims
                                 (EL/PI).                                       for payment of medical monitoring expenses.
220   Elrod, Sr.,       A.       Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Donnie
221   Fernandez, John   B.       Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2, n.14.
                                 to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                                and is a fair, reasonable and adequate
                                                                                compromise after weighing the substantial
                                                                                expense, delay and risks of continued
                                                                                litigation.

                                                                       73
                         Case 2:21-mc-01230-JFC        Document 3055         Filed 12/05/24     Page 110 of 126

                     AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.               Objection Description                                  Response                       Brief Citations
No.
                    Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                             Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                             losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                             confusion regarding the other settlements      Personal Injury Claims and individual claims
                             (EL/PI).                                       for payment of medical monitoring expenses.
                    L.       Conclusory objection that the attorneys’ fee   Conclusory objection is insufficient.            § III.D.5, n.26.
                             award should be limited to 17.5% and the
                             additional fees requested should go into the
                             Settlement Fund. .
                    AA.      Conclusory objection to Settlement             The Court evaluated Wolf Global                  § III.D.2a, n.19.
                             Administrator.                                 Compliance’s credentials before appointing it
                                                                            as Settlement Administrator. The objection
                                                                            does not present any information or basis to
                                                                            call the appointment into question.

222   Beadle, Jr.   A.       Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Raymond
                    V.       Objects that Settlement was negotiated on      As contemplated by Fed. R. Civ. P. 23, the       § III.D.3, n.23.
                             his behalf without his knowledge.              Representative Plaintiffs and Settlement Class
                                                                            Counsel carried out their fiduciary duties to
                                                                            the Settlement Class. The negotiations were
                                                                            overseen by an experienced Court-appointed
                                                                            mediator, and the Court’s exercise of its
                                                                            fiduciary role further protect absent Class
                                                                            members.
223   Cox, Gary     A.       Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.

                    I.       Objects because he does not want to be part    Class Members are not required to take           § III.D.3, n.23.
                             of Settlement.                                 advantage of or use any of the MAP Benefits.

                                                                    74
                         Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24      Page 111 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                    Response                        Brief Citations
No.
224   Felton, Marylou   B.     Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2a, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                        L.     Conclusory objection to fees,                     Conclusory objection is insufficient.             § III.D.5, n.26.
                               reimbursement of expenses and/or service
                               awards.
                        Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the    § III.D.6, n.30.
                               Respironics Recall, their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.
                        H.     Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                 appropriate because Defendants acted or
                                                                                 refused to act in a way that is applicable to the
                                                                                 entire class, making equitable and/or
                                                                                 declaratory relief for the class as a whole
                                                                                 appropriate. Class certification does not
                                                                                 violate constitutional rights. Settlement Class
                                                                                 Members are not prejudiced because they can
                                                                                 still pursue individual claims for payment of
                                                                                 medical monitoring expenses.
225   Fields,           L.     Conclusory objection to fees,                     Conclusory objection is insufficient.             § III.D.5, n.26.
      Constance                reimbursement of expenses and/or service
                               awards.




                                                                         75
                         Case 2:21-mc-01230-JFC          Document 3055         Filed 12/05/24     Page 112 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.             Objection Description                                  Response                       Brief Citations
No.
226   Gray, Clinton     B.     Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2a, n.14.
                               to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.
227   Guy, Andrea       Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.

228   Henning,          A.     Conclusory objection to Settlement.            Conclusory objection is insufficient.            § III.D.1, n.13.
      Wesley

229   Thomas, Craig     Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall, their personal economic    Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements      Personal Injury Claims and individual claims
                               (EL/PI).                                       for payment of medical monitoring expenses.
230   Vandiver, Debra   B.     Objects that the proposed Settlement is not    Settlement provides significant equitable        § III.D.2a, n.14.
                               fair, reasonable nor adequate because there    benefits to the Settlement Class as a whole
                               is no benefit to users of Recalled Devices.    and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.




                                                                     76
                        Case 2:21-mc-01230-JFC          Document 3055        Filed 12/05/24     Page 113 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.             Objection Description                                 Response                       Brief Citations
No.
                       Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall, their personal economic   Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements     Personal Injury Claims and individual claims
                              (EL/PI).                                      for payment of medical monitoring expenses.
231   Rogers, Dwayne   B.     Objects that the MAP Benefits should          Settlement provides significant equitable        § III.D.2a, n.14
                       X.     extend beyond 15 years.                       benefits to the Settlement Class as a whole
                                                                            and is a fair, reasonable and adequate
                                                                            compromise after weighing the substantial
                                                                            expense, delay and risks of continued
                                                                            litigation; length of the MAP program was a
                                                                            reasonable negotiated term.
                       C.     Objects that the Settlement does not          The Settlement does not preclude individual      § III.D.2, n.15.
                              adequately punish the Philips Defendants or   claims for economic loss and personal injury,
                              hold them accountable.                        and the Philips Defendants also have entered
                                                                            into a Court-approved settlement of the
                                                                            Economic Loss Claims and a proposed
                                                                            private settlement program for many Personal
                                                                            Injury claims.

                       Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements     Personal Injury Claims and individual claims
                              (EL/PI).                                      for payment of medical monitoring expenses.




                                                                     77
                            Case 2:21-mc-01230-JFC        Document 3055         Filed 12/05/24     Page 114 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                  Response                       Brief Citations
No.
232   Evans, Raven     G.       Objects that the Settlement does not provide   Settlement is separate from the Recall and the   § III.D.2b, n.22;
                       Q.       payments for personal injuries or medical      Economic Loss and Personal Injury Master         § III.D.6, n.30.
                                expenses and based on frustration with         Settlements. Settlement explicitly preserves
                                Philips Respironics Recall; their personal     Personal Injury Claims and individual claims
                                economic losses and/or health problems;        for payment of medical monitoring expenses.
                                and/or confusion regarding the other
                                settlements (EL/PI).

                       P.       Objects to attorneys’ fees because the         Settlement provides significant equitable        § III.D.5, n.29.
                                Settlement Class Members are not receiving     MAP Benefits to the Settlement Class.
                                payments.

233   Bey, Rosalie     B.       Objects that there is no direct compensation   Settlement provides significant equitable        § III.D.2a, n.14.
                                to users of Recalled Devices.                  benefits to the Settlement Class as a whole
                                                                               and is a fair, reasonable and adequate
                                                                               compromise after weighing the substantial
                                                                               expense, delay and risks of continued
                                                                               litigation.
                       Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements      Personal Injury Claims and individual claims
                                (EL/PI).                                       for payment of medical monitoring expenses.
234   Willing, Karen   Q.       Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements      Personal Injury Claims and individual claims
                                (EL/PI).                                       for payment of medical monitoring expenses.



                                                                      78
                            Case 2:21-mc-01230-JFC         Document 3055      Filed 12/05/24      Page 115 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                Response                        Brief Citations
No.
                       L.       Conclusory objection to fees,                Conclusory objection is insufficient.             § III.D.5, n.26.
                                reimbursement of expenses and/or service
                                awards.
235   Strange, Elton   H.       Objects to not being able to opt out.        Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                             appropriate because Defendants acted or
                                                                             refused to act in a way that is applicable to the
                                                                             entire class, making equitable and/or
                                                                             declaratory relief for the class as a whole
                                                                             appropriate. Class certification does not
                                                                             violate constitutional rights. Settlement Class
                                                                             Members are not prejudiced because they can
                                                                             still pursue individual claims for payment of
                                                                             medical monitoring expenses.

                       K.       Objects to being individually responsible    Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                                for attorneys’ fees.                         awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.
236   Rosado, Evelyn   K.       Objects to being individually responsible    Any attorneys’ fees, costs, or Service Awards     § III.D.5, n.25.
                                for attorneys’ fees.                         awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.

                       I.       Objects because she does not want to be      Class Members are not required to take            § III.D.3, n.23.
                                part of the Settlement.                      advantage of or use any of the MAP Benefits.


                                                                        79
                             Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 116 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.               Objection Description                                 Response                        Brief Citations
No.
237   Rollins, Frank    Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                                 Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements     Personal Injury Claims and individual claims
                                 (EL/PI).                                      for payment of medical monitoring expenses.
                        P.       Objects to attorneys’ fees because the        Settlement provides significant equitable         § III.D.5, n.29.
                                 Settlement Class Members are not receiving    MAP Benefits to the Settlement Class.
                                 payments.
238   Mathias, Robert   Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                                 Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                                 losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                 confusion regarding the other settlements     Personal Injury Claims and individual claims
                                 (EL/PI).                                      for payment of medical monitoring expenses.
239   Bey, Richard      V.       Objects that Settlement was negotiated on     As contemplated by Fed. R. Civ. P. 23, the        § III.D.3, n.23.
      Amun’Ra                    his behalf without his knowledge.             Representative Plaintiffs and Settlement Class
                                                                               Counsel carried out their fiduciary duties to
                                                                               the Settlement Class. The negotiations were
                                                                               overseen by an experienced Court-appointed
                                                                               mediator, and the Court’s exercise of its
                                                                               fiduciary role further protect absent Class
                                                                               members.

                        H.       Objects to not being able to opt out.         Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                               appropriate because Defendants acted or
                                                                               refused to act in a way that is applicable to the
                                                                               entire class, making equitable and/or
                                                                               declaratory relief for the class as a whole
                                                                               appropriate. Class certification does not
                                                                               violate constitutional rights. Settlement Class

                                                                         80
                         Case 2:21-mc-01230-JFC         Document 3055       Filed 12/05/24      Page 117 of 126

                    AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.               Objection Description                                 Response                        Brief Citations
No.
                                                                           Members are not prejudiced because they can
                                                                           still pursue individual claims for payment of
                                                                           medical monitoring expenses.
240   Wagemann,     P.       Objects that attorneys’ fees are excessive.   Settlement provides significant equitable         § III.D.5, n.29.
      Earle                                                                MAP Benefits to the Settlement Class and
                                                                           Class Counsel are entitled to the fees
                                                                           requested.
                    Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the    § III.D.6, n.30.
                             Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                             losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                             confusion regarding the other settlements     Personal Injury Claims and individual claims
                             (EL/PI).                                      for payment of medical monitoring expenses.

241   VanDerbeck,   H.       Objects to being included in the Settlement   Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
      Susan                  without her knowledge or consent.             appropriate because Defendants acted or
                                                                           refused to act in a way that is applicable to the
                                                                           entire class, making equitable and/or
                                                                           declaratory relief for the class as a whole
                                                                           appropriate. Class certification does not
                                                                           violate constitutional rights. Settlement Class
                                                                           Members are not prejudiced because they can
                                                                           still pursue individual claims for payment of
                                                                           medical monitoring expenses.




                                                                     81
                         Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 118 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                    Response                       Brief Citations
No.
                        V.     Objects that Settlement was negotiated on         As contemplated by Fed. R. Civ. P. 23, the       § III.D.3, n.23.
                               her behalf without her knowledge.                 Representative Plaintiffs and Settlement Class
                                                                                 Counsel carried out their fiduciary duties to
                                                                                 the Settlement Class. The negotiations were
                                                                                 overseen by an experienced Court-appointed
                                                                                 mediator, and the Court’s exercise of its
                                                                                 fiduciary role further protect absent Class
                                                                                 members.
242   Smith, Eve        D.     Objects to the release of class claims.           Objection ignores the significant risks of     § III.D.2, n.16.
                                                                                 obtaining class certification even in states
                                                                                 where the law on medical monitoring
                                                                                 supports Plaintiffs’ allegations. Individual
                                                                                 issues such as exposure to alleged foam toxins
                                                                                 and unique medical circumstances, among
                                                                                 others, present substantial hurdles to class
                                                                                 certification.

243   Schneider,        A.     Conclusory objection to Settlement.               Conclusory objection is insufficient.            § III.D.1, n.13.
      Patricia

244   Rossi, Rosalind   B.     Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.
                        G.     Objects that the Settlement is insufficient       Settlement does not release Personal Injury      § III.D.2b, n.22.
                               because it does not compensate for personal       Claims or individual claims for payment of
                               injuries or medical expenses                      medical monitoring expenses.


                                                                         82
                     Case 2:21-mc-01230-JFC          Document 3055        Filed 12/05/24     Page 119 of 126

                    AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.             Objection Description                                 Response                       Brief Citations
No.
                    L.     Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                           for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                         Settlement Fund after Final Approval;
                                                                         Settlement Class Members will not be
                                                                         responsible to pay those fees, expenses or
                                                                         service awards.
                    Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                           Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                           losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                           confusion regarding the other settlements     Personal Injury Claims and individual claims
                           (EL/PI).                                      for payment of medical monitoring expenses.

                    X.     Objects that the MAP Benefits should          Settlement provides significant equitable        § III.D.2, n.14.
                           extend beyond 15 years.                       benefits to the Settlement Class as a whole
                                                                         and is a fair, reasonable and adequate
                                                                         compromise after weighing the substantial
                                                                         expense, delay and risks of continued
                                                                         litigation; length of the MAP program was a
                                                                         reasonable negotiated term.

245   Rodenacker,   Q.     Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
      John                 Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                           losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                           confusion regarding the other settlements     Personal Injury Claims and individual claims
                           (EL/PI).                                      for payment of medical monitoring expenses.




                                                                  83
                     Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 120 of 126

                    AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector   Obj.              Objection Description                                    Response                        Brief Citations
No.
246   Pohalski,     B.     Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Christopher          direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                           Devices.                                          and is a fair, reasonable and adequate
                                                                             compromise after weighing the substantial
                                                                             expense, delay and risks of continued
                                                                             litigation.

                    D.     Objects to the release of class claims.           Objection ignores the significant risks of     § III.D.2, n.16.
                                                                             obtaining class certification even in states
                                                                             where the law on medical monitoring
                                                                             supports Plaintiffs’ allegations. Individual
                                                                             issues such as exposure to alleged foam toxins
                                                                             and unique medical circumstances, among
                                                                             others, present substantial hurdles to class
                                                                             certification.

                    R.     Objects based on misunderstanding that            Objection is based on a misunderstanding of      § III.D.6, n.31.
                           they are automatically enrolled in the MAP        the Settlement. Settlement Class Members
                           Registry.                                         can elect to participate in the MAP Registry. It
                                                                             is optional and enrollment is not automatic.
                                                                             Settlement Class Members’ medical
                                                                             information will remain private unless they
                                                                             affirmatively authorize its disclosure.




                                                                     84
                         Case 2:21-mc-01230-JFC            Document 3055       Filed 12/05/24     Page 121 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.             Objection Description                                  Response                        Brief Citations
No.
247   Paultre, Frantz   B.     Objects that there is not enough money in      Settlement provides significant equitable        § III.D.2, n.14.
                        X.     the Settlement Fund and the MAP Benefits       benefits to the Settlement Class as a whole
                               should extend beyond 15 years.                 and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

                        D.     Objects to the release of class claims.        Objection ignores the significant risks of     § III.D.2, n.16.
                                                                              obtaining class certification even in states
                                                                              where the law on medical monitoring
                                                                              supports Plaintiffs’ allegations. Individual
                                                                              issues such as exposure to alleged foam toxins
                                                                              and unique medical circumstances, among
                                                                              others, present substantial hurdles to class
                                                                              certification.

248   Khan, Nuzhath     R.     Objects based on misunderstanding that         Objection is based on a misunderstanding of      § III.D.6, n.31.
                               they are automatically enrolled in the MAP     the Settlement. Settlement Class Members
                               Registry.                                      can elect to participate in the MAP Registry. It
                                                                              is optional and enrollment is not automatic.
                                                                              Settlement Class Members’ medical
                                                                              information will remain private unless they
                                                                              affirmatively authorize its disclosure.

249   Hawe, Janena      K.     Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                               for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.


                                                                         85
                         Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 122 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector       Obj.              Objection Description                                    Response                       Brief Citations
No.
250   Gustafson,        G.     Objects that the Settlement is insufficient       Settlement does not release Personal Injury      § III.D.2b, n.22.
      Frances                  because it does not compensate for personal       Claims or individual claims for payment of
      Charlene                 injuries or medical expenses.                     medical monitoring expenses.
                        Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall; their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.

251   Gravelyn, Gary    D.     Objects to the release of class claims.           Objection ignores the significant risks of     § III.D.2, n.16.
                                                                                 obtaining class certification even in states
                                                                                 where the law on medical monitoring
                                                                                 supports Plaintiffs’ allegations. Individual
                                                                                 issues such as exposure to alleged foam toxins
                                                                                 and unique medical circumstances, among
                                                                                 others, present substantial hurdles to class
                                                                                 certification.

                        Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                               Respironics Recall; their personal economic       Economic Loss and Personal Injury Master
                               losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                               confusion regarding the other settlements         Personal Injury Claims and individual claims
                               (EL/PI).                                          for payment of medical monitoring expenses.

252   Fritz, Cathleen   B.     Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
                               direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                               Devices.                                          and is a fair, reasonable and adequate
                                                                                 compromise after weighing the substantial
                                                                                 expense, delay and risks of continued
                                                                                 litigation.

                                                                         86
                      Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24     Page 123 of 126

                     AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
          Objector   Obj.              Objection Description                                    Response                       Brief Citations
No.
                     G.     Objects that the Settlement is insufficient       Settlement does not release Personal Injury      § III.D.2b, n.22.
                            because it does not compensate for personal       Claims or individual claims for payment of
                            injuries or medical expenses.                     medical monitoring expenses.
                     L.     Objects to being individually responsible         Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                            for attorneys’ fees.                              awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

                     Q.     Objects based on frustration with Philips         Settlement is separate from the Recall and the   § III.D.6, n.30.
                            Respironics Recall; their personal economic       Economic Loss and Personal Injury Master
                            losses and/or health problems; and/or             Settlements. Settlement explicitly preserves
                            confusion regarding the other settlements         Personal Injury Claims and individual claims
                            (EL/PI).                                          for payment of medical monitoring expenses.

                     X.     Objects that the MAP Benefits should              Settlement provides significant equitable        § III.D.2, n.14.
                            extend beyond 15 years.                           benefits to the Settlement Class as a whole
                                                                              and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation; length of the MAP program was a
                                                                              reasonable negotiated term.

253   Duhart, Jr.,   B.     Objects that there is little or no benefit / no   Settlement provides significant equitable        § III.D.2, n.14.
      Willie                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                            Devices.                                          and is a fair, reasonable and adequate
                                                                              compromise after weighing the substantial
                                                                              expense, delay and risks of continued
                                                                              litigation.

                                                                      87
                            Case 2:21-mc-01230-JFC        Document 3055        Filed 12/05/24     Page 124 of 126

                        AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.               Objection Description                                 Response                       Brief Citations
No.
                       G.       Objects that the Settlement is insufficient   Settlement does not release Personal Injury      § III.D.2b, n.22.
                                because it does not compensate for personal   Claims or individual claims for payment of
                                injuries or medical expenses.                 medical monitoring expenses.
                       L.       Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

                       Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves
                                confusion regarding the other settlements     Personal Injury Claims and individual claims
                                (EL/PI).                                      for payment of medical monitoring expenses.

254   Colbert, Sarah   I.       Objects to being included in the Settlement Class Members are not required to take             § III.D.3, n.23.
                                because Objector does not want any benefits advantage of or use any of the MAP Benefits.
                                or for other reasons.

                       K.       Objects to being individually responsible     Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                                for attorneys’ fees.                          awarded by the Court will be paid from the
                                                                              Settlement Fund after Final Approval;
                                                                              Settlement Class Members will not be
                                                                              responsible to pay those fees, expenses or
                                                                              service awards.

                       Q.       Objects based on frustration with Philips     Settlement is separate from the Recall and the   § III.D.6, n.30.
                                Respironics Recall; their personal economic   Economic Loss and Personal Injury Master
                                losses and/or health problems; and/or         Settlements. Settlement explicitly preserves

                                                                      88
                          Case 2:21-mc-01230-JFC             Document 3055         Filed 12/05/24      Page 125 of 126

                         AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector        Obj.              Objection Description                                    Response                        Brief Citations
No.
                                confusion regarding the other settlements         Personal Injury Claims and individual claims
                                (EL/PI).                                          for payment of medical monitoring expenses.

255   Childs, Patricia   E.     Objects to the MAP Research program –             Objection ignores the multiple provisions and     § III.D.2a, n.18.
                                questioning its purpose and scope.                safeguards in the Settlement Agreement to
                                                                                  ensure the MAP Research is independent and
                                                                                  beneficial and that the grant selection, award
                                                                                  process, and results are transparent, including
                                                                                  through ongoing judicial oversight.

                         H.     Objects to not being able to opt out.             Certification of a Rule 23(b)(2) class is         § III.D.3, n.23.
                                                                                  appropriate because Defendants acted or
                                                                                  refused to act in a way that is applicable to the
                                                                                  entire class, making equitable and/or
                                                                                  declaratory relief for the class as a whole
                                                                                  appropriate. Class certification does not
                                                                                  violate constitutional rights. Settlement Class
                                                                                  Members are not prejudiced because they can
                                                                                  still pursue individual claims for payment of
                                                                                  medical monitoring expenses.

256   Brantley, Lola     B.     Objects that there is little or no benefit / no   Settlement provides significant equitable         § III.D.2, n.14.
                                direct compensation to users of Recalled          benefits to the Settlement Class as a whole
                                Devices.                                          and is a fair, reasonable and adequate
                                                                                  compromise after weighing the substantial
                                                                                  expense, delay and risks of continued
                                                                                  litigation.




                                                                          89
                        Case 2:21-mc-01230-JFC            Document 3055       Filed 12/05/24     Page 126 of 126

                       AMENDED EXHIBIT 3b: CHART OF OBJECTIONS AND RESPONSES (by Objector)


Ex.
         Objector      Obj.             Objection Description                                  Response                       Brief Citations
No.
                       D.     Objects to the release of class claims.        Objection ignores the significant risks of     § III.D.2, n.16.
                                                                             obtaining class certification even in states
                                                                             where the law on medical monitoring
                                                                             supports Plaintiffs’ allegations. Individual
                                                                             issues such as exposure to alleged foam toxins
                                                                             and unique medical circumstances, among
                                                                             others, present substantial hurdles to class
                                                                             certification.

                       L.     Objects to being individually responsible      Any attorneys’ fees, costs, or Service Awards    § III.D.5, n.25.
                              for attorneys’ fees.                           awarded by the Court will be paid from the
                                                                             Settlement Fund after Final Approval;
                                                                             Settlement Class Members will not be
                                                                             responsible to pay those fees, expenses or
                                                                             service awards.

                       Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements      Personal Injury Claims and individual claims
                              (EL/PI).                                       for payment of medical monitoring expenses.

257. Hosen, Patricia   Q.     Objects based on frustration with Philips      Settlement is separate from the Recall and the   § III.D.6, n.30.
                              Respironics Recall; their personal economic    Economic Loss and Personal Injury Master
                              losses and/or health problems; and/or          Settlements. Settlement explicitly preserves
                              confusion regarding the other settlements      Personal Injury Claims and individual claims
                              (EL/PI).                                       for payment of medical monitoring expenses.




                                                                        90
